                                                         SO ORDERED.


                                                         Dated: May 17, 2022
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                                                           ______________________________________
 3                                                         Madeleine C. Wanslee, Bankruptcy Judge

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 6                        IN THE UNITED STATES BANKRUPTCY COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8       In re:                                     Chapter 11 Proceedings
 9       SANTA CLARITA, LLC,                        Case No. 2:20-bk-12402-MCW
10                       Debtor.                    ORDER APPROVING SALE OF
                                                    DEBTOR’S ASSETS TO BLUE OX
11                                                  HOLDINGS, LLC
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13                On March 3, 2022, the Trustee filed the Trustee’s Motion for Orders (A) (I)
14   Approving Bid Procedures Relating to Sale of the Debtor’s Assets; (II) Approving Bid
15   Protections; (III) Scheduling a Hearing to Consider the Sale; (IV) Approving the Form
16   and Manner of Notice and Sale by Auction; and (V) Granting Related Relief; and (B) (I)
17   Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of
18   Debtor Outside the Ordinary Course of Business; (II) Authorizing the Sale of Assets of
19   Free and Clear of All Liens, Claims, Encumbrances and Interests; and (III) Granting
20   Related Relief [ECF No. 497] (“Sale Motion”).1 A proposed Purchase and Sale
21   Agreement between the Trustee on behalf of Santa Clarita, LLC (the “Debtor”) and Blue
22   Ox Holdings, LLC (“Blue Ox”) dated as of March 3, 2022 (as amended herein,
23   “Purchase Agreement”) was attached as Exhibit “D” to the Sale Motion, and represented
24   the opening bid for Debtor’s real property identified generally as the property located at
25   22116 Soledad Canyon Road, Santa Clarita, CA 91350 (the “Property”) and personal
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      Capitalized terms not otherwise defined herein shall have those meanings ascribed in the Sale
28   Motion.
 1   property identified in the Purchase Agreement (collectively with the Property, the
 2   “Assets”).
 3         On March 11, 2022, the Court signed an Order (I) Approving Bid Procedures
 4   Relating to the Sale of Debtor’s Assets; (II) Approving Bid Protections; (III) Scheduling a
 5   Hearing to Consider the Sale; (IV) Approving the Form and Manner of Notice and Sale
 6   by Auction; and (V) Granting Related Relief [ECF No. 517] (“Bid Procedures Order”)
 7   and approved the Notice of Bid Procedures, Auction, and Sale Hearing [ECF No. 52] the
 8   “Auction Notice”).
 9         No Qualified Bidder, other than Blue Ox, submitted bids by the deadline set forth
10   in the Bid Procedures Order and Auction Notice, leaving Blue Ox as the sole party
11   making an offer to purchase the Debtor’s Assets.
12         On April 5, 2022, Whittaker Corporation (“Whittaker”) filed an Objection to the
13   Trustee’s Motion to Approve Sale Free and Clear of All Liens, Claims, Encumbrances,
14   and Interests [ECF No. 557] (“Whittaker Objection”) On April 7, 2022, Hargis +
15   Associates, Inc. (“Hargis”) filed a Joinder in Whittaker Corporation’s Objection [ECF
16   No. 559] (“Hargis Joinder”). Additionally, both Whittaker and Hargis filed demands for
17   adequate protection. See ECF Nos. 547 and 555 (the “Whittaker APO Demand” and
18   “Hargis APO Demand,” respectively)            No other objections to the Sale Motion or
19   demands for adequate protection were filed.
20         A hearing to approve the sale of Debtor’s Assets to Blue Ox was originally
21   scheduled for April 14, 2022, but was continued by agreement of the parties to, and held
22   on, April 21, 2022, at 11:30 a.m. (the “Sale Hearing”). All appearances at the Sale
23   Hearing are reflected in the above-captioned Court’s record of the Sale Hearing.
24         The Court has read and considered the Sale Motion brought pursuant to Sections
25   105, 363, and 365 of Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the
26   “Bankruptcy Code”), Rules 2002, 6004, 6006, and 9014 of the Federal Rules of
27   Bankruptcy Procedure (the “Bankruptcy Rules”), and the other applicable provisions of
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 1   the Bankruptcy Code, the Bankruptcy Rules, and Local Bankruptcy Rules for the District
 2   of Arizona, and heard and considered the argument, the testimony, and representations
 3   proffered at the Sale Hearing. In addition, a resolution of the Whittaker Objection was
 4   read into the record, and that resolution is reflected in the terms of this Order. It appearing
 5   that the relief requested in the Sale Motion is in the best interest of Debtor’s bankruptcy
 6   estate, its creditors, and other parties-in-interest, and after due deliberation and sufficient
 7   cause appearing therefor:
 8          BASED ON THE ENTIRE RECORD IN THIS CASE (INCLUDING THE
 9   SETTLEMENT READ INTO THE RECORD AND AS SET FORTH HEREIN), AND
10   GOOD CAUSE APPEARING, IT IS HEREBY FOUND AND DETERMINED THAT:
11          A.     Findings of Fact and Conclusions of Law. The findings and conclusions
12   set forth herein constitute the Court’s findings of fact and conclusions of law pursuant to
13   Bankruptcy Rule 7052, made applicable to this Chapter 11 Case pursuant to Bankruptcy
14   Rule 9014. To the extent any of the following conclusions of law constitute findings of
15   fact, they are adopted as such.
16          B.     Jurisdiction and Venue. This Court has jurisdiction to consider the Sale
17   Motion and over the property of the Debtor, including the Assets to be sold, transferred,
18   and conveyed pursuant to the Purchase Agreement under 28 U.S.C. §§ 157 and 1334.
19   This is a core proceeding under 28 U.S.C. § 157(b). Venue of this case and the Sale
20   Motion in this District is proper under 28 U.S.C. §§ 1408 and 1409.
21          C.     Property of the Estate. The Assets constitute property of the Debtor’s
22   estate and title thereto is vested in Debtor’s estate within the meaning of Section 541(a) of
23   the Bankruptcy Code.
24          D.     Statutory Predicates. The statutory predicates for the relief sought in the
25   Sale Motion are Sections 105(a), 363, and 365 of the Bankruptcy Code and Bankruptcy
26   Rules 2002, 6004, 6006, and 9014.
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 1          E.     Judicial Notice. The Court took judicial notice of the pleadings, papers,
 2   and other records in the Bankruptcy Case pursuant to Federal Rule of Evidence 201, made
 3   applicable to these proceedings pursuant to Bankruptcy Rule 9017.
 4          F.     Notice. As evidenced by the certificates of service filed with this Court and
 5   based upon the representations of counsel at the Sale Hearing: (i) due, proper, timely,
 6   adequate, and sufficient notice of the Sale Motion and the Sale Hearing, with respect
 7   thereto, has been provided in accordance with Sections 105(a), 363, and 365 of the
 8   Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006, 9007, and 9014; (ii) it
 9   appearing that no other or further notice need be provided; (iii) such notice was and is
10   good, sufficient, and appropriate under the circumstances; and (iv) no other or further
11   notice of the Sale Motion, the Sale Hearing, or the Sale of the Assets to Blue Ox is or
12   shall be required.
13          G.     Opportunity to Object. A reasonable opportunity to object and to be heard
14   with respect to the Sale Motion and the relief requested therein has been given, in light of
15   the circumstances, to all interested persons and entities, including the following: (i) the
16   U.S. Trustee; (ii) all parties known to be asserting a lien on any of the Assets; and (iii) all
17   of Debtor’s known creditors, equity security holders, and parties-in-interest entitled to
18   notice under Bankruptcy Rule 2002(a).
19          H.     Final Order. This Sale Order constitutes a final order within the meaning
20   of 28 U.S.C. § 158(a) (the “Sale Order”). Notwithstanding Bankruptcy Rules 6004(h)
21   and 6006(d), and to the extent necessary under Bankruptcy Rule 9014 and Rule 54(b) of
22   the Federal Rules of Civil Procedure, made applicable by Bankruptcy Rule 7054, this
23   Court finds that there is no just reason for delay in the implementation of this Sale Order,
24   and directs entry of judgment as set forth herein.
25          I.     Sale Satisfies Best Interests.         Blue Ox (together with its designees,
26   successors, assigns, assets and properties, the “Successful Bidder” or “Buyer”), was
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 1   determined to be the Successful bidder offering the highest and best offer for all of
 2   Debtor’s Assets.
 3          J.     Good and sufficient reasons for approval of the Sale of the Assets to the
 4   Successful Bidder have been articulated, including adequacy and fair value of the
 5   consideration provided by the Successful Bid under the Purchase Agreement, and the
 6   relief requested in the Sale Motion is in the best interests of Debtor, its estate, the
 7   creditors, and other parties-in-interest and should be approved.
 8          K.     Business Justification. Trustee has demonstrated both: (i) good, sufficient,
 9   and sound business purposes and justifications for the Sale; and (ii) compelling
10   circumstances for the Sale other than in the ordinary course of business under Section
11   363(b) of the Bankruptcy Code. Entry of an order approving the Sale to the Successful
12   Bidder is a necessary condition precedent to consummating the Sale.
13          L.     Disclosures. The disclosures made by the Trustee in the Sale Motion and
14   related documents filed with the Court regarding the Purchase Agreement, the Sale, and
15   the Sale Hearing were good, complete, and adequate.
16          M.     Good Faith Sale. The Purchase Agreement was negotiated and proposed
17   without collusion and in good faith and as a result of arms’-length negotiations. Neither
18   Trustee nor the Successful Bidder has engaged in any conduct that would cause or permit
19   the Purchase Agreement to be avoided under Section 363(n) of the Bankruptcy Code.
20   Specifically, the Successful Bidder has not acted in a collusive manner with any person
21   and the purchase price was not controlled by any agreement among bidders. The sale
22   process was reasonably designed to provide notice to, and identify, all potential bidders
23   for the Assets. Such process was executed in good faith as a result of arms’-length
24   negotiations and was substantively and procedurally fair to all parties. The sale process
25   afforded a full, fair, and reasonable opportunity for any entity to make a higher or
26   otherwise better offer to purchase the Assets.
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 1          N.     Good Faith Purchaser. The Successful Bidder has proceeded in good faith
 2   in all respects in connection with this proceeding, is a “good faith purchaser” within the
 3   meaning of Section 363(m) of the Bankruptcy Code and, as such, entitled to all the
 4   protections afforded thereby. Neither Trustee nor the Successful Bidder have engaged in
 5   any conduct that: (i) would cause or permit the Sale transactions contemplated hereby and
 6   in accordance with the Purchase Agreement to be avoided; (ii) would tend to hinder,
 7   delay, or defraud creditors; or (iii) would cause or permit costs and damages to be
 8   imposed under Section 363(n) of the Bankruptcy Code.
 9          O.     Highest and Best Offer. As demonstrated by the Sale Motion and other
10   testimony and evidence proffered or adduced prior to or at the Sale Hearing: (i) Trustee
11   has adequately marketed the Assets for sale; (ii) the consideration provided for in the
12   Purchase Agreement constitutes the highest or otherwise best offer for the Assets and
13   provides fair and reasonable consideration for the Assets; and (iii) the consideration to be
14   paid by the Successful Bidder constitutes reasonably equivalent value and fair
15   consideration (as those terms may be defined in each of the Uniform Fraudulent Transfer
16   Act, Uniform Fraudulent Conveyance Act, and Section 548 of the Bankruptcy Code)
17   under the Bankruptcy Code and under the laws of the United States, any state, territory or
18   possession thereof or the District of Columbia, or any other applicable jurisdiction with
19   laws substantially similar to the foregoing. The Purchase Agreement constitutes the
20   highest and best offer at the Auction for the Sale of the Assets. No other entity or group
21   of entities has presented a higher or otherwise better offer to the Trustee to purchase the
22   Assets for greater economic value to the Debtor’s estate than the Successful Bidder.
23          P.     Fair Consideration. Trustee’s determination that the Purchase Agreement
24   constitutes the highest and best offer for the Assets constitutes a valid and sound exercise
25   of Trustee’s business judgment. The Successful Bid represents a fair and reasonable offer
26   to purchase the Assets under the circumstances of the Bankruptcy Case. Approval of the
27   Sale Motion, the Purchase Agreement, and the consummation of the Sale contemplated
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 1   thereby are in the best interests of Debtor, its creditors, its estate, and all other parties-in-
 2   interest.
 3          Q.     Free and Clear. Debtor’s estate is the sole and lawful owner of the Assets
 4   or has a valid, enforceable property interest in such Assets. The transfer of the Assets to
 5   the Successful Bidder under the Purchase Agreement will be as of the Closing Date a
 6   legal, valid, and effective transfer of the Assets and vests or will vest the Successful
 7   Bidder with all right, title, and interest of Debtor’s estate to the Assets free and clear of all
 8   liens, claims (as defined in Section 101(5) of the Bankruptcy Code), encumbrances,
 9   obligations, liabilities, contractual commitments, or interests of any kind or nature
10   whatsoever accruing, arising, or relating thereto prior to such Closing Date (collectively,
11   the “Claims”), except as set forth in the Purchase Agreement and Whittaker Reservations
12   set forth in Section 8 herein. The Assets sold pursuant to the Purchase Agreement shall be
13   transferred as-is, where-is by Trustee to the Successful Bidder in accordance with the
14   Purchase Agreement.
15          R.     The Successful Bidder would not have entered into the Purchase Agreement
16   and would not consummate the Sale if the Sale to the Successful Bidder was not free and
17   clear of all Claims or if the Successful Bidder would, or in the future could, be liable for
18   any of the Claims.
19          S.     Trustee may sell the Assets free and clear of any Claims of any kind or
20   nature whatsoever because in each case, one or more of the standards set forth in Section
21   363(f)(1)-(5) of the Bankruptcy Code has been satisfied. Each entity with a Claim to or in
22   the Assets to be transferred on the day of the closing of the Sale of the Assets to the
23   Successful Bidder (the “Closing Date”): (i) has, subject to the terms and conditions of this
24   Order, consented to the Sale or is deemed to have consented to the Sale; (ii) could be
25   compelled in a legal or equitable proceeding to accept money satisfaction of such Claim;
26   or (iii) otherwise falls within the provisions of Section 363(f) of the Bankruptcy Code.
27   Those holders of Claims who did not object to the Sale Motion are deemed, subject to the
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 1   terms of this Order, to have consented pursuant to Section 363(f)(2) of the Bankruptcy
 2   Code. Any holders of Claims who did not object that have an interest in the Assets could
 3   be compelled in a legal or equitable proceeding to accept money satisfaction of such
 4   Claim pursuant to section 363(f)(5) or fall within one or more of the other subsections of
 5   Section 363(f) of the Bankruptcy Code, including Section 363(f)(1), and are therefore
 6   adequately protected by having their Claims that constitute interests in the Assets, if any,
 7   attach solely to the proceeds of the Sale ultimately attributable to the property in which
 8   they have an interest, if any, in the same order of priority and with the same validity, force
 9   and effect that such holders had prior to the Sale, subject to any defenses of the Debtor.
10          T.     Power and Authority. Trustee has full corporate power and authority to
11   execute and deliver the Purchase Agreement and all other documents contemplated
12   thereby and do such acts as are necessary or desirable to carry out the transactions
13   contemplated by the terms and conditions of the Purchase Agreement and this Sale Order,
14   and, upon entry of this Sale Order, Trustee requires no further consents or approvals to
15   consummate the Sale, except as otherwise set forth in the Purchase Agreement.
16          U.     No Fraudulent Transfer. The Purchase Agreement is fair and adequate
17   and provides Debtor’s estate with reasonably equivalent value, fair consideration, and fair
18   value under the Bankruptcy Code and under the laws of any state, territory, possession, or
19   the District of Columbia (as those terms are defined in the Uniform Fraudulent Transfer
20   Act, the Uniform Fraudulent Conveyance Act, and the Bankruptcy Code). The Purchase
21   Agreement was not entered into for the purpose of hindering, delaying, or defrauding
22   creditors under the Bankruptcy Code and under the laws of the United States, any state,
23   territory, possession, or the State of Arizona. Neither Trustee nor the Successful Bidder is
24   entering into the Purchase Agreement fraudulently.
25          V.     Not a Successor. Subject to the terms of this Order, the Successful Bidder:
26   (i) is not a successor to Debtor; (ii) has not, de facto or otherwise, merged with or into
27   Debtor; (iii) is not a continuation or substantial continuation of Debtor or any enterprise of
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 1   Debtor; (iv) does not have a common identity of incorporators, directors, or equity holders
 2   with Debtor; and (v) is not holding itself out to the public as a continuation of Debtor.
 3   Subject to the terms of this Order, the transfer of the Assets to the Successful Bidder does
 4   not and will not subject the Successful Bidder to any liability whatsoever with respect to
 5   the operation of Debtor’s business before the Closing Date or by reason of such transfer
 6   under the laws of the United States, any state, territory, or possession thereof, or the States
 7   of Arizona or California, based, in whole or in part, directly or indirectly, on any theory of
 8   law or equity, including, without limitation, any theory of equitable law, including,
 9   without limitation, any theory of antitrust or successor or transferee liability.
10          W.     No Sub Rosa Plan. The Sale neither impermissibly restructures the rights
11   of the Debtor’s creditors nor impermissibly dictates the terms of a liquidating plan of
12   reorganization of the Debtor. The Sale does not constitute a sub rosa or de facto plan of
13   reorganization or liquidation as it does not propose to: (i) impair or restructure existing
14   debt of, or equity interests in, the Debtor; (ii) impair or circumvent voting rights with
15   respect to any plan proposed by the Debtor; (iii) circumvent chapter 11 safeguards, such
16   as those set forth in sections 1125 and 1129 of the Bankruptcy Code; or (iv) classify
17   claims or equity interests or extend debt maturities.
18          X.     Consummation is Legal, Valid and Authorized. The consummation of
19   the Sale is legal, valid, and properly authorized under all applicable provisions of the
20   Bankruptcy Code, including Sections 105(a), 363(b), 363(f), 363(m), 365(b), and 365(f)
21   of the Bankruptcy Code and all of the applicable requirements of such sections have been
22   complied with in respect of the Sale.
23          NOW       THEREFORE,          IT    IS       HEREBY     ORDERED,         ADJUDGED,
24   CONCLUDED, AND DECREED AS FOLLOWS:
25          1.     Motion is Granted. The Sale Motion and the relief requested therein,
26   including approval of the Purchase Agreement attached as Exhibit “1” hereto, is
27   GRANTED and APPROVED as set forth herein.
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 1         2.     Objections Overruled. Any and all objections to the entry of this Sale
 2   Order or the relief granted herein and requested in the Sale Motion that have not been
 3   withdrawn, waived, or settled, or not otherwise resolved pursuant to the terms hereof, if
 4   any, are hereby denied and overruled on the merits with prejudice expressly including the
 5   Hargis Objection.
 6         3.     Adequate Protection Requests Denied. Any and all requests for adequate
 7   protection in connection with the Sale, including the Whittaker Demand (to the extent not
 8   otherwise withdrawn) and Hargis Demand, are hereby denied as lacking merit.
 9         4.     Notice. Notice of the Sale Motion, the Sale Hearing, and the Sale was fair
10   and reasonable under the circumstances and complied in all respects with Section 102(a)
11   of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, and 6006.
12         5.     Approval of the Sale. The Purchase Agreement and the Sale contemplated
13   therein are hereby approved as a valid exercise of Trustee’s business judgment. Pursuant
14   to Sections 105, 363, and 365 of the Bankruptcy Code, Trustee is hereby authorized and
15   directed to: (i) execute and perform its obligations under the Purchase Agreement, along
16   with any additional instruments or documents that may be reasonably necessary or
17   appropriate to implement the Sale pursuant to the Purchase Agreement; (ii) consummate
18   the Sale in accordance with the terms and conditions of the Purchase Agreement and all
19   additional documents and instruments contemplated thereby, subject to the terms of the
20   Purchase Agreement and this Order; and (iii) take all other and further action as may be
21   reasonably necessary to implement the Sale to the Successful Bidder pursuant to the
22   Purchase Agreement and this Order. The Assets shall be sold to Blue Ox for the
23   following: (i) a credit bid in the amount of Ninety-One Million Two Hundred Thousand
24   Dollars ($91,200,000.00) of Buyer’s outstanding PBL Loan to Debtor; (ii) cash
25   consideration in the amount of Seven Million Five Hundred Thousand (the “Cash
26   Consideration”) to be allocated as follows: (A) up to $6,000,000 to pay unpaid property
27   taxes (the “Property Tax Cash Component”) and (B) up to the lesser of (x) One Million
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 1   Five Hundred Thousand Dollars ($1,500,000), and (y) one hundred fifty basis points
 2   (1.5%) of the total amount(s) bid to pay the allowed administrative expenses (including
 3   only fees due the Chapter 11 Trustee and unpaid United States Trustee Fees) (the
 4   “Administrative Cash Component”); (iii) Buyer taking subject to the KFI Loan in the
 5   amount of $27,000,000.00; and (iv) Buyer taking subject to the KP Lien in the amount of
 6   $2,800,000.00, for a total Purchase Price of $128,500,000.00.
 7          6.      Neither the Successful Bidder nor the Trustee shall have any obligation to
 8   proceed with a Closing under the Purchase Agreement until all conditions precedent to its
 9   obligations to do so under the Purchase Agreement have been met, satisfied, or waived.
10          7.     Free and Clear.      Except as otherwise specifically provided for in the
11   Purchase Agreement or this Sale Order, pursuant to Sections 105(a), 363(b), 363(f),
12   365(b), and 365(f) of the Bankruptcy Code, Trustee is authorized and directed to transfer
13   the Assets to the Successful Bidder and, as of the Closing Date, the Successful Bidder
14   shall take title to and possession of the Assets free and clear of all Claims of any kind or
15   nature whatsoever, with the sole exception of the Whittaker Reservations set forth in
16   Section 8, and specifically including, but not limited to, the following:
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            a.     A Deed of Trust to secure an original indebtedness of $35,000,000.00
18                 recorded January 11, 1999 as Instrument No. XX-XXXXXXX of Official
                   Records.
19
20                        Dated: December 24, 1998
                          Trustor: Santa Clarita, L L C, a Delaware limited liability company
21                        Trustee: First American Title Insurance Company
22                        Beneficiary: Porta Bella Lender, L L C, a Delaware limited liability
                          company
23
            b.     A Deed of Trust to secure an original indebtedness of $428,808.36 recorded
24                 January 3, 2003 as Instrument No. XX-XXXXXXX of Official Records.
25                       Dated: December 12, 2002
                         Trustor: Santa Clarita, LLC
26                       Trustee: First American Title Insurance Company, a California
27                       corporation
                         Beneficiary: Hargis & Associate, Inc.
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 1         c.     A Deed of Trust to secure an original indebtedness of $1,350,000.00
 2                recorded December 16, 2019 as Instrument No. 20191398005 of Official
                  Records.
 3                      Dated: October 15
                        Trustor: Santa Clarita, LLC, a Delaware limited liability company
 4                      Trustee: Chicago Title Insurance Company, a California corporation
 5                      Beneficiary: KB-2001, LLLP, an Arizona limited liability partnership

 6         d.     The terms and provisions contained in the document entitled Modification to
 7                deed of Trust and
                         Assignment of Rents recorded April 30, 2020 as Instrument No.
 8                       20200477598 of Official Records.
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           e.     A Deed of Trust to secure an original indebtedness of $15,000,000.00
10                recorded April 30, 2020 as Instrument No. 20200477597 of Official
                  Records.
11                      Dated: March 3rd
12                      Trustor: Santa Clarita, LLC, a Delaware limited liability company
                        Trustee: Chicago Title Insurance Company, a California corporation
13                      Beneficiary: The Courson Company, a California corporation
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           f.     The terms and provisions contained in the document entitled Notice of
15                Third-Party Partial Assignment recorded December 16, 2021 as Instrument
                  No. 20211872317 of Official Records.
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           8.     Resolution of Whittaker Objection: The foregoing notwithstanding, and
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     as set forth on the record at the Sale Hearing, Sale of the Assets shall be subject to the
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     following:
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           a.     The sale and Blue Ox’s title to the Property will be subject to and remain
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           encumbered by the Whittaker Note/Deed of Trust ("Whittaker Secured Claim")
21         which is the subject of pending adversary proceeding no. 2:22-ap-00043-MCW
           (the “Adversary Proceeding”), with the following conditions:
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23         i.     All parties’ rights, remedies, claims, and defenses in the Adversary
                  Proceeding are expressly preserved;
24
25         ii.    The parties reserve all rights, remedies, claims, and defenses as to the
                  calculation of the Whittaker Secured Claim, but it not event shall the claim
26                exceed $24,042,465.75, the amount asserted in the Whittaker Proof of
                  Claim, as follows: $5,000,000 promissory note dated January 6, 1999;
27                interest in the amount of $11,042,465.75; and contingent principal is the
28                amount of $8,000,000;
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 1
 2   iii.      The ultimate lien priority of the Whittaker Secured Claim relative to the
               PBL Lien will be adjudicated in the Adversary Proceeding;
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     iv.        To the extent that the Whittaker Secured Claim is determined to be junior to
 4             the PBL Lien in at least the amount of the credit bid, the Whittaker Secured
 5             Claim shall have been deemed released or otherwise expunged by the sale;
               and
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 7   v.        To the extent that the Whittaker Secured Claim is determined to be senior to
               the PBL Lien, it shall remain junior to a reinstated KP and KFI lien in favor
 8             of Blue Ox or its assign
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     b.     The sale of the Property will not release non-debtor claims that are not
10   capable of being released by an order of the Bankruptcy Court pursuant to Section
     363 that arise out of state and federal environmental laws and regulations,
11   including Comprehensive Environmental Response, Compensation, and Liability
12   Act (“CERCLA”), subject to the provisions of paragraph c, below.

13   c.     With respect to the issues raised in the Whittaker Objection regarding the
     allegedly executed land use covenants ("LUC"), Blue Ox, the Trustee and
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     Whittaker agree as follows:
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            i. Blue Ox and Trustee agree that Whittaker may amend the Complaint filed in
16          the Adversary Proceeding within 60 days of the date of this Sale Order to
17          include a new claim for declaratory and injunctive relief in which Whittaker
            will assert the LUC should/must be recorded as against the Property and
18          requiring Blue Ox (as the owner after the sale) and/or the Trustee to record it
19          (the "LUC Count");

20          ii. Blue Ox and Trustee reserve any and all of their rights and defenses related
            to the LUC Count with the sole exception that that LUC Count has become
21          moot by virtue of the Order. Subject to the foregoing and for the avoidance of
22          doubt, Blue Ox and the Trustee preserve all objections to jurisdiction;

23          iii. Should Blue Ox, the Trustee and Whittaker resolve the LUC issues in the
            LUC Count, the LUC Count can be separately settled/resolved in the Adversary
24          Proceeding; and
25
            iv. The current deadline to answer or otherwise respond to the Complaint in the
26          Adversary Proceeding shall be stayed until thirty (30) days after (i) Whittaker
            amends its Complaint as set forth above or (ii) Whittaker provides written
27          notice of its intent to proceed with the Complaint as filed.
28   Subject to the foregoing, the Whittaker Objection is deemed withdrawn.
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 1          9.     Valid Transfer. Pursuant to Sections 105(a) and 363(f) of the Bankruptcy
 2   Code, Trustee is authorized and directed to transfer the Assets in accordance with the
 3   terms of the Purchase Agreement and the terms of this Sale Order. As of the Closing
 4   Date, and subject only to the limitations set forth in this Sale Order and the Purchase
 5   Agreement and Section 8 herein: (i) the Sale to the Successful Bidder effects a legal,
 6   valid, enforceable, and effective sale and transfer of the Assets to the Successful Bidder,
 7   and shall vest the Successful Bidder with all right, title, and interest to such Assets free
 8   and clear of all Claims; (ii) the Purchase Agreement and the instruments contemplated
 9   thereby shall be enforceable against and binding upon (without posting any bond) the
10   Successful Bidder and Trustee and not be subject to rejection or avoidance by Trustee or
11   Debtor, any subsequently appointed chapter 7 trustee of the Debtor and its estate, or any
12   other person; and (iii) the Sale to the Successful Bidder pursuant to the Purchase
13   Agreement shall be free and clear of all Claims.
14          10.    This Sale Order, subject only to the provisions of this Sale Order and the
15   limitations set forth in the Purchase Agreement and Section 8 herein: (i) shall be effective
16   as a determination that, as of the Closing Date: (a) no Claims relating to the Assets will be
17   assertable against the Successful Bidder, its affiliates, successors, or assigns or any of
18   their respective assets (including the Assets), (b) the Assets shall have been transferred to
19   the Successful Bidder free and clear of all Claims, and (c) the conveyances described
20   herein have been effected; and (ii) is and shall be binding upon and govern the acts of all
21   entities, including, without limitation, all filing agents, filing officers, title agents, title
22   companies, recorders of mortgages, recorders of deeds, national and international
23   registrars of deeds, administrative agencies, secretaries of state, federal and local officials,
24   and all other persons and entities who may be required by operation of law, the duties of
25   their office or contract, to accept, file, register, or otherwise record or release any
26   documents or instruments, or who may be required to report or insure any title or state of
27   title in or to any lease; and each of the foregoing persons and entities is hereby directed to
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 1   accept for filing any and all of the documents and instruments necessary and appropriate
 2   to consummate the transactions contemplated by the Purchase Agreement.
 3          11.    Other than as provided in this Sale Order, if any person or entity that has
 4   filed financing statements, liens, or other documents or agreements evidencing Claims
 5   against or in Debtor’s estate or the Assets shall not have delivered to the Successful
 6   Bidder prior to the Closing Date, in proper form for filing and executed by the appropriate
 7   parties, termination statements, instruments of satisfaction, releases of all interests that the
 8   person or entity has with respect to Debtor, its estate, the Assets, or otherwise, then only
 9   with regard to Assets that are purchased by the Successful Bidder pursuant to the Purchase
10   Agreement and this Sale Order: (i) each of the Debtor’s creditors is hereby authorized and
11   directed to execute such documents and take all other actions as may be necessary to
12   release its Claims in the Assets (if any) as such Claims may have been recorded or may
13   otherwise exist; (ii) any Assets that may be subject to a statutory or mechanic’s lien shall
14   be turned over and such liens shall attach to the proceeds of the Sale in the same priority
15   they currently enjoy with respect to the Assets; and (iii) Trustee and/or the Successful
16   Bidder is hereby authorized to execute, file, register, or otherwise record such statements,
17   instruments, releases, and other documents on behalf of the person or entity with respect
18   to the Assets, or otherwise record a certified copy of this Sale Order, which, once filed,
19   registered, or otherwise recorded, shall constitute conclusive evidence of the release of all
20   Claims against the applicable Assets. This Sale Order is deemed to be in recordable form
21   sufficient to be placed in the filing or recording system of each and every federal, state, or
22   local government agency, department, or office, which, once filed, registered, or
23   otherwise recorded shall constitute conclusive evidence of release of all Claims against
24   the applicable Assets.
25          12.    All persons or entities in possession of some or all of the Assets are directed
26   to surrender possession of such Assets to the Successful Bidder or its respective designees
27   in accordance with the terms of this Sale Order on the Closing Date.
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 1          13.    Subject to the provisions of this Sale Order, following the Closing Date, no
 2   holder of any Claim shall interfere with the Successful Bidder’s title to or use and
 3   enjoyment of the Assets based on or related to any such Claim or based on any actions
 4   Trustee or Debtor may take in Debtor’s Bankruptcy Case, or in the event of a conversion
 5   of the case to a case under any other chapter of the Bankruptcy Code, any such actions in
 6   that case.
 7          14.    Subject to the provisions of this Sale Order, all persons and entities are
 8   prohibited and enjoined from taking any action to adversely affect or interfere with the
 9   ability of Trustee to transfer the Assets to the Successful Bidder in accordance with the
10   Purchase Agreement and this Sale Order.
11          15.    Subject to the provisions of this Sale Order, to the maximum extent
12   permitted under applicable law, the Successful Bidder, to the extent provided by the
13   Purchase Agreement, shall be authorized, as of the Closing Date, to operate under any
14   license, permit, registration, and governmental authorization or approval of Debtor
15   constituting Assets, and all such licenses, permits, registrations, and governmental
16   authorizations and approvals are deemed to have been, and hereby are, directed to be
17   transferred to Successful Bidder as of the Closing Date as provided by the Purchase
18   Agreement.     To the extent provided by Section 525 of the Bankruptcy Code, no
19   governmental unit may revoke or suspend any grant, permit, or license relating to the
20   operation of the Assets sold, transferred, or conveyed to the Successful Bidder on account
21   of the filing or pendency of the Chapter 11 Case or the consummation of the Sale
22   contemplated by the Purchase Agreement.
23          16.    General Assignment. On the Closing Date, and subject to the provisions of
24   this Sale Order, this Sale Order shall be construed and shall constitute for any and all
25   purposes a full and complete general assignment, conveyance, and transfer to the
26   Successful Bidder of Debtor’s interests in the Assets or a bill of sale transferring good and
27   marketable title in such Assets to Successful Bid pursuant to the terms set forth in the
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 1   Purchase Agreement. Each and every federal, state, and local governmental agency or
 2   department is hereby authorized to accept any and all documents and instruments
 3   necessary and appropriate to consummate the Sale to the Successful Bidder pursuant to
 4   the Purchase Agreement.
 5          17.    Release of Claims. Except as set forth in the provisions of this Sale Order,
 6   and Section 8 of this Sale Order, this Sale Order shall be effective as a determination that,
 7   on the Closing Date, all Claims of any kind or nature whatsoever existing as to the Assets
 8   prior to the Closing Date have been unconditionally released, discharged, and terminated,
 9   and that the conveyances described herein have been effectuated as of the Closing Date.
10          18.    Direction to Release Claims. Subject to the provisions of this Sale Order,
11   on the Closing Date, each of Debtor’s creditors is authorized and directed to execute such
12   documents and take all other actions as may be reasonably necessary to release the Claims
13   in the Assets, if any, as such Claims may have been recorded or may otherwise exist.
14   Except to the extent included in Assumed Liabilities, or to enforce the Purchase
15   Agreement, all entities hereby are forever barred, estopped, and permanently enjoined
16   from asserting any Claims relating to the Assets or the transfer of the Assets, in each case
17   against the Successful Bidder or the Assets (the “Releasees”), including, without
18   limitation, taking any of the following actions with respect to or based on any Claim
19   relating to the Assets or the transfer of the Assets, again in each case against the
20   Releasees: (a) asserting, commencing, pursuing, or continuing in any manner any action
21   or other proceeding against the Releasees with respect to or based on any Claim relating
22   to the Assets or the transfer of the Assets, again in each case against the Releasees; (b)
23   enforcing, attaching, collecting, or recovering in any manner any judgment, award,
24   decree, or order against the Releasees with respect to or based on any Claim relating to the
25   Assets or the transfer of the Assets, again in each case against the Releasees; (c) creating,
26   perfecting, or enforcing any Claims against the Releasees with respect to or based on any
27   Claim relating to the Assets or the transfer of the Assets, again in each case against the
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 1   Releasees; (d) asserting a Claim as a setoff, right of subrogation, or recoupment of any
 2   kind against any obligation due the Successful Bidder with respect to or based on any
 3   Claim relating to the Assets or the transfer of the Assets, again in each case against the
 4   Releasees; (e) commencing or continuing any action in any manner or place that does not
 5   comply, or is inconsistent, with the provisions of this Sale Order or the agreements or
 6   actions contemplated or taken in respect thereof with respect to or based on any Claim
 7   relating to the Assets or the transfer of the Assets, again in each case against the
 8   Releasees; or (f) interfering with, preventing, restricting, prohibiting, or otherwise
 9   enjoining the consummation of the Sale.
10          19.    No Successor Liability.      Subject to the provisions of this Sale Order,
11   neither the Successful Bidder nor its affiliates, successors, assigns, nor properties shall be
12   deemed, as a result of any action taken in connection with the purchase of the Assets, to:
13   (i) be a successor to Debtor or its estate; (ii) have, de facto or otherwise, merged or
14   consolidated with or into Debtor or its estate; or (iii) be a continuation or substantial
15   continuation of Debtor or any enterprise of Debtor. The transfer of the Assets to the
16   Successful Bidder shall not result in: (i) the Successful Bidder, its affiliates, members,
17   properties, or shareholders or the Assets, having any liability or responsibility for any
18   claim against Debtor; (ii) the Successful Bidder, its affiliates, members, properties, or
19   shareholders or the Assets, having any liability whatsoever with respect to or be required
20   to satisfy in any manner, whether at law or in equity, whether by payment, setoff, or
21   otherwise, directly or indirectly, any Claim; or (iii) the Successful Bidder, its affiliates,
22   members, properties or shareholders or the Assets, having any liability or responsibility to
23   Debtor except as is expressly set forth in the Purchase Agreement and this Sale Order.
24          20.    Subject to the provisions of this Sale Order, and without limiting the effect
25   or scope of the foregoing and except as expressly provided in the Purchase Agreement,
26   neither the Successful Bidder nor its affiliates, successors, assigns, nor properties, shall
27   have any successor or vicarious liabilities of any kind or character, including, but not
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 1   limited to, any theory of antitrust, environmental, successor, or transferee liability, labor
 2   law, de facto merger or substantial continuity, whether known or unknown as of the
 3   Closing Date, now existing or hereafter arising, whether asserted or unasserted, fixed or
 4   contingent, liquidated, or unliquidated with respect to Debtor or any obligations of Debtor
 5   arising prior to the Closing Date, including, but not limited to, liabilities on account of any
 6   taxes or other government fees, contributions or surcharges arising, accruing or payable
 7   under, out of, in connection with, or in any way relating to the operation of the Assets
 8   prior to the Closing Date, under the laws of the United States, any state, territory or
 9   possession thereof, or the States of Arizona and California.
10          21.    Bulk Transfer Laws. Trustee and the Successful Bidder hereby waive, and
11   shall be deemed to waive, any requirement of compliance with, and any claims related to
12   noncompliance with, the provisions of any bulk sales, bulk transfer, or similar law of any
13   jurisdiction that may be applicable.
14          22.    Binding Effect of Sale Order. This Sale Order and the provisions herein
15   shall be binding upon and shall govern the acts of all entities, including without limitation
16   all filing agents, filing officers, title agents, title companies, recorders of mortgages,
17   recorders of deeds, registrars of deeds, administrative agencies, governmental
18   departments, secretaries of state, federal, state and local officials, and all other persons
19   and entities who may be required by operation of law, the duties of their office, or
20   contract, to accept, file, register, or otherwise record or release any documents or
21   instruments, or who may be required to report or insure any title or state of title in or to
22   any of the Assets.
23          23.    Binding on Successors. Subject to the provisions of this Sale Order, the
24   terms and provisions of the Purchase Agreement and this Sale Order shall be binding in
25   all respects upon Debtor, its estate, all creditors (whether known or unknown), and holders
26   of equity interests in, Debtor, the Successful Bidder, and their respective affiliates,
27   successors and assigns, and any affected third parties, including, but not limited to, all
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 1   persons asserting Claims in the Assets, and any trustees, examiners, or other fiduciary
 2   under any section of the Bankruptcy Code, if any, subsequently appointed in any of the
 3   Debtor’s Chapter 11 Case or upon a conversion to Chapter 7 under the Bankruptcy Code
 4   of the Debtor’s case, notwithstanding any subsequent appointment of any trustee or
 5   examiner under any chapter of the Bankruptcy Code, as to which trustee or examiner such
 6   terms and provisions likewise shall be binding.       This Sale Order and the Purchase
 7   Agreement shall inure to the benefit of Debtor, its estate, the creditors, the Successful
 8   Bidder, and their respective successors and assigns and any other affected third parties,
 9   including all persons asserting any Claims in the Assets to be sold to Successful Bidder
10   pursuant to the Purchase Agreement, notwithstanding any subsequent appointment of any
11   trustee(s), party, entity, or other fiduciary under any section of any chapter of the
12   Bankruptcy Code, as to which trustee(s), party, entity, or other fiduciary such terms and
13   provisions likewise shall be binding.
14          24.    Section 363(n) of the Bankruptcy Code. The consideration provided by
15   the Successful Bidder for the Assets under the Purchase Agreement is fair and reasonable
16   and may not be avoided under Section 363(n) of the Bankruptcy Code.
17          25.    Good Faith.     The Sale to the Successful Bidder is undertaken by the
18   Successful Bidder without collusion and in good faith, as that term is used in Section
19   363(m) of the Bankruptcy Code and, accordingly, the reversal or modification on appeal
20   of the authorization provided herein to consummate the Sale shall not affect the validity of
21   the Sale with the Successful Bidder, unless such authorization is duly stayed pending such
22   appeal. The Successful Bidder is a good faith purchaser of the Assets and is entitled to all
23   of the benefits and protections afforded by Section 363(m) of the Bankruptcy Code.
24          26.    Fair Consideration. The consideration provided by the Successful Bidder
25   to the Debtor’s estate pursuant to the Purchase Agreement for the purchase of the Assets
26   constitutes reasonably equivalent value and fair consideration under the Bankruptcy Code,
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 1   the Uniform Fraudulent Transfer Act, the Uniform Fraudulent Conveyance Act, and the
 2   Uniform Voidable Transactions Act.
 3           27.   Retention of Jurisdiction. This Court retains jurisdiction, pursuant to its
 4   statutory powers under 28 U.S.C. § 157(b)(2), to, among other things, interpret,
 5   implement, and enforce the terms and provisions of this Sale Order, the Purchase
 6   Agreement, and all amendments thereto and any waivers and consents thereunder and
 7   each of the agreements executed in connection therewith, including, but not limited to,
 8   retaining jurisdiction subject to the provisions of this Sale Order to: (i) compel delivery of
 9   the Assets to the Successful Bidder; (ii) compel delivery of the purchase price under the
10   Purchase Agreement or performance of other obligations thereunder owed to Debtor; (iii)
11   interpret, implement, and enforce the provisions of this Sale Order and the Purchase
12   Agreement; (iv) adjudicate, if necessary, any and all disputes concerning or relating in any
13   way to the Sale; and (v) protect the Successful Bidder against any Claims against the
14   Debtor or the Assets of any kind or nature whatsoever attaching to the proceeds of the
15   Sale.
16           28.   Non-Material Modifications. The Purchase Agreement and any related
17   agreements, documents, or other instruments may be modified, amended, or supplemented
18   by the parties thereto in a writing signed by such parties, and in accordance with the terms
19   thereof, without further order of the Court, provided that any such modification,
20   amendment, or supplement does not have a material adverse effect on Debtor’s estate or
21   conflict with the terms of this Sale Order. Written notice of any such modification,
22   amendment, or supplement shall be provided to any person or entity that appeared at the
23   Sale Hearing. No amendments or modifications may alter, prejudice or impair any of the
24   rights of Whittaker as set forth in this Sale Order and reservations related thereto.
25           29.   Sale Order Shall Control. This Sale Order shall govern if there is any
26   inconsistency between the Successful Bid and the Purchase Agreement (including all
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 1   ancillary documents executed in connection therewith) and this Sale Order. Likewise, all
 2   of the provisions of this Sale Order are nonseverable and mutually dependent.
 3          30.       Cooperation. From time to time, as and when requested by any party, each
 4   party to the Purchase Agreement shall execute and deliver, or cause to be executed and
 5   delivered, all such documents and instruments and shall take, or cause to be taken, all such
 6   further or other actions as such other party may reasonably deem necessary or desirable to
 7   consummate the Sale, including such actions as may be necessary to vest, perfect or
 8   confirm, of record or otherwise, in the Successful Bidder its right, title, and interest in and
 9   to the Assets.
10          31.       Reorganization Plan. Nothing contained in any plan of reorganization or
11   liquidation, or order of any type or kind entered in this Chapter 11 Case, any subsequent
12   Chapter 7 case of the Debtor, or any related proceeding subsequent to entry of this Sale
13   Order, shall conflict with or derogate from the provisions of the Purchase Agreement or
14   the terms of this Sale Order. The failure specifically to include any particular provisions
15   of the Purchase Agreement including any of the documents, agreements, or instruments
16   executed in connection therewith in this Sale Order shall not diminish or impair the
17   efficacy of such provision, document, agreement, or instrument, it being the intent of this
18   Court that the Purchase Agreement and each such document, agreement or instrument be
19   authorized and approved in its entirety subject to the provisions of this Sale Order.
20          32.       Acceptance of Documents. Subject to the provisions of this Sale Order,
21   each and every federal, state, and local governmental agency, department, or official is
22   hereby directed to accept any and all documents and instruments necessary and
23   appropriate to consummate the transactions contemplated by the Purchase Agreement.
24          33.       No Stay of Sale Order. Notwithstanding the provisions of Bankruptcy
25   Rule 6004(h) and Bankruptcy Rule 6006(d), this Sale Order shall not be stayed for
26   fourteen days after the entry hereof, but shall be effective and enforceable immediately
27   upon issuance hereof and the fourteen (14) day stay provided in Bankruptcy Rules
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 1   6004(h) and 6006(d) is expressly waived and shall not apply. Time is of the essence in
 2   closing the Sale contemplated herein, and Trustee and the Successful Bidder intend to
 3   close the Sale as soon as practicable. Any party objecting to this Sale Order must exercise
 4   due diligence in filing an appeal and pursuing a stay, or risk its appeal being foreclosed as
 5   moot.
 6                                   SIGNED AND DATED ABOVE
 7
 8   Approved as to form and content:
 9   GARMAN TURNER GORDON LLP
10   By___Teresa M. Pilatowicz (024447)
          Gregory E. Garman
11        Teresa M. Pilatowicz
          Attorneys for Blue Ox Holdings, LLC
12
     STINSON LLP
13
     By      /s/ Thomas J. Salerno (007492)
14           Thomas J. Salerno
             Attorneys for Whittaker Corporation
15
16   By      /s/Michael W. Carmel (007356)
17           Michael W. Carmel, Chapter 11 Trustee

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EXHIBIT 1




EXHIBIT 1
                AMENDED PURCHASE AND SALE AGREEMENT

                                  by and between


SANTA CLARITA, L.L.C., a Delaware limited liability company, by and through Michael
                        Carmel, its Chapter 11 Trustee

                                     “Seller”


                                       and

    BLUE OX HOLDINGS LLC, a Delaware limited liability company, or its assigns

                                     “Buyer”



                             Dated as of May __, 2022
                    AMENDED PURCHASE AND SALE AGREEMENT


        This AMENDED PURCHASE AND SALE AGREEMENT (this “Agreement”), dated
May __, 2022, is entered into by and between MICHAEL CARMEL, AS CHAPTER 11
TRUSTEE OF SANTA CLARITA, L.L.C., a Delaware limited liability company (“Seller”) and
BLUE OX HOLDINGS LLC, a Delaware limited liability company, or its assignee (“Buyer”).
Seller and Buyer are sometimes referred to herein individually as a “Party” and collectively as the
“Parties.”

                                            RECITALS

       A.      Santa Clarita, LLC (“Debtor”) is the owner of approximately 972 acres of real
property located in the County of Los Angeles, California, known as Assessor’s Parcel Numbers
2836-012-012, 2836-012-019 and 2836-012-032, as more specifically described on Exhibit “A”
attached hereto (the “Land”).

        B.    On November 12, 2020 (the “Petition Date”), Debtor filed for bankruptcy
protection under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the
“Bankruptcy Code”) in the United States Bankruptcy Court, District of Arizona (the
“Bankruptcy Court”), thereby commencing case no. 2:20-bk-12402-MCW (the “Bankruptcy
Case”).

        C.     Buyer desires to purchase from Seller, and Seller desires to sell to Buyer, all of
Debtor’s rights, title and interest in the Property, as hereinafter defined, owned by Debtor pursuant
to the terms and conditions set forth in this Agreement below.

        D.     The transactions contemplated by this Agreement are subject to (1) a bankruptcy
court supervised auction; and (2) the approval of the Bankruptcy Court, and will be consummated
only pursuant to the Sale Order approving such sale free and clear of any interest in such property,
except for the Permitted Encumbrances, all as more specifically provided in this Agreement, and
in accordance with Sections 105, 363 and 365 of the Bankruptcy Code and other applicable
provisions of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure and the Bidding
Procedures.

        E.      Seller and Buyer have negotiated in good faith and at arm’s length for the purchase
and sale of the Property and for certain bid protections in connection therewith, subject to the terms
and conditions set forth herein.

                                          AGREEMENT

        NOW, THEREFORE, for and in consideration of the mutual covenants and agreements
contained in this Agreement and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties, intending to be legally bound hereby,
agree as follows:




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                                 ARTICLE I
               DEFINITIONS; CONSTRUCTION AND INTERPRETATION

      Section 1.1 Definitions. The capitalized words, terms and phrases used in this
Agreement, including in the preamble and the recitals hereto, shall have the meanings ascribed to
such words, terms and phrases in the “Glossary of Defined Terms” attached to this Agreement as
APPENDIX A.

        Section 1.2 Construction and Interpretation. Unless the context of this Agreement
requires otherwise: (a) words of any gender include each other gender; (b) words using the singular
or plural number also include the plural or singular number, respectively; (c) the words “hereof,”
“herein,” “hereby,” “hereto” and similar words refer to this entire Agreement and not to any
particular Article, Section, Exhibit, Schedule or Appendix or any other subdivision of this
Agreement; (d) references to “Article,” “Section,” “Exhibit” “Schedule” or “Appendix” are to the
Articles, Sections, Exhibits, Schedules and Appendices respectively of this Agreement; (e) the
words “include” or “including” shall be deemed to be followed by the phrases “without limitation”
or “but not limited to” whether or not such words are followed by such phrases or phrases of like
import; (f) references to “this Agreement” or any other agreement or document shall be construed
as a reference to such agreement or document as amended, modified or supplemented and in effect
from time to time and shall include a reference to any document which amends, modifies or
supplements it; and (g) titles for captions of Sections contained in this Agreement are inserted only
as a matter of convenience and for reference, and in no way define, limit, extend, describe or
otherwise affect the scope or meaning of this Agreement or the intent of any provision hereof.
Each of the Schedules, Exhibits and Appendices referred to in this Agreement is expressly made
a part hereof. In the event of any inconsistency between the statements in the body of this
Agreement and those in the Schedules, Exhibits or Appendices, the statements in the body of this
Agreement will control. Whenever any provision of this Agreement refers to any Person’s right
to consent to or be satisfied with any action, such consent or satisfaction shall be in the Person’s
sole and absolute discretion, unless the provision granting such Person the right to consent or be
satisfied limits the Person’s consent or satisfaction right in some other manner. Whenever this
Agreement refers to a number of days, such number shall refer to calendar days unless Business
Days are specified.

                                         ARTICLE II
                                     SALE AND PURCHASE

       Section 2.1 Sale and Purchase. Upon the terms and subject to the conditions set forth in
this Agreement and the Sale Order, at the Closing, Seller agrees to sell, assign, transfer, convey
and deliver to Buyer, and Buyer agrees to purchase from Seller, all of Debtor’s rights, title, interest
and benefit in and to the following property (each individually and collectively, the “Property”),
except the property specifically identified in Section 2.2 (the “Excluded Property”):

        (a)     the Land, together with all mineral and other subsurface rights, air rights,
development rights, and water rights, if any, and all easements in or upon such land and all other
rights, benefits, privileges, tenements, hereditaments and appurtenances belonging or in anywise
pertaining to such Land, including, without limitation, adjacent roads, rights-of-way, alleys,
drainage and utility facilities and strips and gores between such land and abutting the Land, all



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utility and access rights, and all improvements, structures and fixtures now existing on the Land
(collectively, the “Real Property”);

        (b)     all tangible personal property owned by Debtor, nor or hereafter located in and used
in connection with the operation, ownership, maintenance or management of the Real Property,
including without limitation: all plans and specifications, reports and studies, marketing,
advertising, sales and promotional materials and sales plans, information and studies, and other
similar reports used in the ownership, operation, maintenance and management of the Real
Property (collectively, the “Tangible Personal Property”);

        (c)    all intangible personal property related to the Real Property, including without
limitation: development rights, any and all existing rights under development agreements with any
applicable Governmental Authority with respect to the Real Property, development capacities and
fee credits; water and water rights, wells, well rights and well permits, water and sewer taps,
sanitary or storm sewer capacity or reservations and rights under utility agreements with any
applicable Governmental Authority with respect to the providing of utility services; governmental
permits, approvals, licenses (to the extent assignable); all general intangibles related to the
Property, and all records related to the Property (the “Intangible Personal Property”);

        (d)     all assignable permits, licenses, approvals and other authorizations issued by any
Governmental Authority or other governing entity in connection with the Property (the “Permits
and Licenses”), in each case to the extent assignable (the Tangible Personal Property, the
Intangible Personal Property, and the Permits and Licenses, may hereinafter collectively be
referred to as the “Personal Property”); and

        (e)    all Purchased Claims.

       Section 2.2 Excluded Property. The property that constitutes “Excluded Property” is all
of Debtor’s rights, title, interest and benefit in and to the following property:

        (a)     any and all environmental remediation equipment or facilities which are required
to be retained and used by Whittaker Corporation or any of its affiliates in connection with its on-
going environmental obligations to the State of California,

        (b)     any Personal Property which Buyer elects not to acquire by written notice to Seller
prior to the Closing; and

        (c)    any claims, causes of action or other rights related to any Excluded Property.

                                          ARTICLE III
                                           ESCROW

        Section 3.1 Opening of Escrow. Within five (5) business days after the execution of this
Agreement, Buyer and Seller shall open an escrow (the “Escrow”) with Escrow Holder by
delivering to Escrow Holder a fully executed copy of this Agreement (the “Opening of Escrow”).
The purchase and sale of the Property will be completed through the Escrow. Buyer and Seller
agree to execute any additional instructions reasonably required by the Escrow Holder. If there is




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a conflict between any printed escrow instructions and this Agreement, the terms of this Agreement
will govern.

        Section 3.2 Cancellation Fees and Expenses. In the event that the Close of Escrow does
not occur at the time and in the manner provided in this Agreement because of the default of one of
the parties, the non-defaulting party has the right to cancel the Escrow by written notice to the
defaulting party and to the Escrow Holder. The defaulting party shall pay all costs of cancellation
charged by the Escrow Holder.

        Section 3.3 Title.        Buyer may obtain, at Buyer’s sole cost and expense, a title
commitment from Title Company for the Property. The Closing is conditioned on Title Company
issuing and delivering to Buyer, an ALTA standard coverage owner’s title insurance policy (or at
Buyer’s election, an ALTA extended coverage policy), with liability and limits in the amount of
the Purchase Price, insuring title to the Real Property as vested in Buyer, in fee simple absolute
(the “Buyer’s Title Policy”). At the Closing, Seller’s obligation to convey title to the Property
will be fully satisfied by issuance of Buyer’s Title Policy.

                                     ARTICLE IV
                             PURCHASE PRICE AND PAYMENT

        Section 4.1   Purchase Price and Payment.

        (a)    The consideration for the Property (the “Purchase Price”) shall be (i) a credit bid
in the amount of Ninety-One Million Two Hundred Thousand Dollars ($91,200,000.00) of Buyer’s
outstanding PBL Loan to Debtor; (ii) cash consideration in the amount of Seven Million Five
Hundred Thousand (the “Cash Consideration”) to be allocated as follows: (A) up to $6,000,000
to pay unpaid property taxes (the “Property Tax Cash Component”) and (B) up to the lesser of
(x) One Million Five Hundred Thousand Dollars ($1,500,000), and (y) one hundred fifty basis
points (1.5%) of the total amount(s) bid to pay the allowed administrative expenses (including only
fees due the Chapter 11 Trustee and unpaid United States Trustee Fees) (the “Administrative
Cash Component”); (iii) Buyer taking subject to the KFI Loan in the amount of $27,000,000.00;
and (iv) Buyer taking subject to the KP Lien in the amount of $2,800,000.00, for a total Purchase
Price of $128,500,000.00.

        (b)     Buyer may elect, in its sole discretion, to assume the property tax liability on the
Property or otherwise pay property taxes outside of the Debtor’s estate and directly to Los Angeles
County, California in lieu of payment of the Property Tax Cash Component. Upon Closing, the
Cash Consideration less the Property Tax Cash Component if elected to be paid outside of the
Debtor’s estate or assumed pursuant to subsection (a) above, shall be paid by Buyer to Debtor’s
estate in immediately available funds.


                                     ARTICLE V
                             BANKRUPTCY COURT MATTERS

        Section 5.1   Bankruptcy Court Approval.




                                                 4
        (a)     Buyer and Seller acknowledge that, under the Bankruptcy Code, the sale of the
Property is subject to (1) a court-supervised auction; and (2) approval of the Bankruptcy Court.
Buyer and Seller acknowledge that to obtain such approval, Seller must demonstrate that it has
taken reasonable steps to obtain the highest or best value possible for the Property, including giving
notice of the transactions contemplated by this Agreement to creditors and other interested parties
as ordered by the Bankruptcy Court, providing information about the Property to prospective
bidders, entertaining higher or better offers from qualified bidders and, if necessary, conducting
an Auction and selling the Property to another qualified bidder.

        (b)     Seller shall file with the Bankruptcy Court, and prosecute the same to completion,
such pleadings and motions that shall be necessary and appropriate to receive any and all orders
and rulings from the Bankruptcy Court, and to provide such notifications to the Bankruptcy Court
or interested parties, that are necessary or appropriate, in writing, to fully authorize and allow
Buyer the benefit of the transactions set forth in this Agreement, including without limitation
Buyer’s acquisition of the Property as contemplated by this Agreement, and Seller’s subsequent
sale, assignment and transfer of the Property as contemplated under this Agreement, and shall
further take any and all commercially reasonable and customary actions and make and submit such
appropriate notices, filings and submissions, and make all appropriate court appearances in support
thereof. Such motion or motions shall be brought inter alia under Section 363 of the Bankruptcy
Code, specifically including Sections (b), (f), (k) and (m) of the Bankruptcy Code, free and clear
of any interest in such property, except the Permitted Encumbrances. Seller shall file a Motion for
Order Pursuant to Sections 105(A), 363, 365, 503 and 507 of the Bankruptcy Code and Rules
2002, 6004, 6006 9007, 9008 and 9014 of the Federal Rules of Bankruptcy Procedure to approve
and authorize the sale of the Property to Buyer free and clear of liens, claims, encumbrances and
other interests, except the Permitted Encumbrances, along with the bidding procedures, sale order
and a request for a waiver of the stay imposed by Federal Rule of Bankruptcy Procedure 6004(h),
in the Bankruptcy Case (the “363 Motion”), by March 3, 2022, which 363 Motion shall include
inter alia a request for a waiver of the stay imposed by Federal Rule of Bankruptcy Procedure
6004(h). The order being sought by the 363 Motion shall be referred to herein as the “Sale Order”,
the form of which shall be subject to approval by Buyer in its sole and absolute discretion.

        (c)     The Sale Order, once entered by the Bankruptcy Court, shall be a “Final Order”
provided: (i) no appeal, notice of appeal, motion to amend or make additional findings of fact,
motion to alter or amend judgment, motion for rehearing or motion for new trial has been timely
filed or, if any of the foregoing has been timely filed, it has been disposed of in a manner that
upholds and affirms the subject order in all respects without the possibility for further appeal or
rehearing thereon; (ii) the time for instituting or filing an appeal, motion for rehearing or motion
for new trial shall have expired; and (iii) no stay is in effect. As a condition to Closing the sale
and of all of Buyer’s obligations hereunder, a Final Order shall have been entered by the
Bankruptcy Court in a form reasonably acceptable to Buyer and Seller.

        (d)     Subject to the provisions of Section 5.2 below, in the event that a Sale Order does
not become a Final Order entered by the Bankruptcy Court as contemplated by this Section 5.1,
Buyer shall have the right to terminate this Agreement, and the Parties shall have no further
obligations to one another except for those that expressly survive such termination.

       Section 5.2    Overbidding.



                                                  5
        (a)     With respect to any proposed bidding or “stalking horse” procedure requested to be
contained in or contemplated by any Bankruptcy Court pleading to be contained in the proposed
bid procedures order (the “Bidding Procedures”) or proposed Sale Order, the following terms
and conditions shall apply in each case: (i) the bid procedures to be employed and contained in the
Bidding Procedures for any possible overbid shall be standard and customary and shall be
reasonably acceptable to Buyer, (ii) the Bidding Procedures shall allow Buyer a reasonable
opportunity to further bid up to a maximum credit bid amount equal to the sum of the amount of
the Allowed Claim plus the Cash Consideration plus the Contribution Component with respect to
any competing overbid, provided that in any given instance of an overbid by Buyer, Buyer shall
not lose any of the bid protections set forth in the Bidding Procedures, and (iii) unless otherwise
specifically agreed to by Buyer, Seller may not accept any competing bid for the Property unless
such competing bid (A) is made in compliance with the Bidding Procedures, (B) includes a deposit
equal to Ten Million Dollars ($10,000,000.00) deposited with the Seller at least five (5) days prior
to the Auction, and (C) the competing bid is in an amount of at least One Hundred Forty Million
Dollars ($140,000,000.00), and is no less favorable than the terms of this Agreement. The Bidding
Procedures shall further provide that subsequent overbids may only be in increments of Five
Million Dollars ($5,000,000.00), and that the successful bidder must, at a minimum, either (i) pay
cash at Closing in the amount of (A)(1) the Allowed Claim, plus (2) the Property Tax Cash
Component, plus (3) an amount determined by the Bankruptcy Court for administrative expenses,
including those of the Seller’s fees, or (B) the successful bid, whichever is less; or (ii) pay cash at
Closing in the amounts in (i) above minus the amount of Lender Financing.

        (b)     As a condition to Closing the sale and of all of Buyer’s obligations under this
Agreement, the Bidding Procedures and the Sale Order shall have been entered by the Bankruptcy
Court in a form acceptable to Buyer in its sole and absolute discretion and shall include a finding
that the Buyer is a good faith purchaser under Section 363 of the Bankruptcy Code, including but
not limited to a finding under Section 363(m) of the Bankruptcy Code. Buyer shall have the right
to terminate this Agreement if, among other things, (i) the Bidding Procedures is not entered by
the Bankruptcy Court by the date of entry of the 9019 Order, (ii) if the Bidding Procedures does
not become a Final Order within fourteen (14) days after the Bidding Procedures is entered by the
Bankruptcy Court, (iii) if the Sale Order is not entered by the Bankruptcy Court within thirty days
following entry of the Bidding Procedures, or (iv) the Sale Order does not become a Final Order
within fourteen (14) days after the Sale Order is entered by the Bankruptcy Court, and the Parties
shall have no further obligations to one another except for those that expressly survive such
termination.

        (c)      If an Auction is conducted, and Seller does not choose Buyer as the successful
bidder, but instead chooses Buyer as the bidder as having submitted the next highest or otherwise
best bid at the conclusion of such Auction, Buyer may, at Buyer’s sole election, become the back-
up bidder (the “Back-Up Bidder”). The Parties acknowledge that the Bidding Procedures shall
provide that Buyer may elect, in its sole discretion, to become the Back-Up Bidder under such
circumstances, in which case Buyer will keep its bid to consummate the transactions contemplated
by this Agreement on the terms and conditions set forth in this Agreement (including, without
limitation, at the Purchase Price set forth in Section 4.1; provided, however, in the event that there
are multiple bidders in addition to the Successful Bidder and Buyer, the Purchase Price shall be
for Buyer’s last overbid of any bidder excluding the Successful Bidder) open and irrevocable until
the earlier of: (i) the date of closing on the sale of the Property to the successful bidder; and (ii)



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thirty (30) days following the date the order approving the sale of the Property to the successful
bidder shall have become a Final Order (such date, the “Back-Up Period”); provided, however,
that if the successful bidder shall fail to close on its purchase of the Property prior to the expiration
of the Back-Up Period, the Back-Up Bidder, at its sole election, shall be deemed to be the
successful bidder, in which case, Seller, without further order of the Bankruptcy Court, and the
Back-Up Bidder shall consummate the transactions contemplated by this Agreement within fifteen
(15) days of becoming the successful bidder on the terms and conditions set forth in this Agreement
(including, without limitation, at the Purchase Price set forth in Section 4.1; provided, however, in
the event that there are multiple bidders in addition to the Successful Bidder and Buyer, the
Purchase Price shall be for Buyer’s last overbid of any bidder excluding the Successful Bidder).


                                            ARTICLE VI
                                              TITLE

        Section 6.1 Title Commitment. Buyer may obtain, at Buyer’s sole cost and expense, a
title commitment from Title Company for the Property together with copies of the underlying
documents described in such commitment. At the Closing, Seller’s obligation to convey title to
the Property will be fully satisfied by issuance of Buyer’s Title Policy (as defined below), subject
only to the following matters (the “Permitted Encumbrances”):

               (a)     A lien for real property taxes and assessments not then delinquent other than
those past due taxes up to an aggregate amount of the Property Tax Cash Component; and

                (b)     The KP Lien and the KFI Deed of Trust.

        Section 6.2 Title Policy. The Closing is conditioned on Title Company issuing and
delivering to Buyer, an ALTA standard coverage owner’s title insurance policy (or at Buyer’s
election, an ALTA extended coverage policy), with liability and limits in the amount of the
Purchase Price, insuring title to the Real Property as vested in Buyer, in fee simple absolute (the
“Buyer’s Title Policy”) subject solely to the Permitted Encumbrances. At the Closing, Seller’s
obligation to convey title to the Property will be fully satisfied by issuance of Buyer’s Title Policy.

                                ARTICLE VII
             THE CLOSING; THE CLOSING DATE; ACTION AT CLOSING

        Section 7.1 Closing. The closing of the transactions contemplated by this Agreement
(the “Closing”) shall occur within, but no later than, fifteen (15) days after the Sale Order entered
by the Bankruptcy Court becomes a Final Order, on such date as designated by Buyer, at a place
mutually agreed upon by the Parties. The date on and time at which the Closing actually occurs is
referred to in this Agreement as the “Closing Date”.

        Section 7.2 Seller’s Closing Deliverables. At the Closing, and concurrently with the
making of the deliveries by Buyer of the Buyer’s Closing Deliverables as set forth in Section
7.3Section 7.3, Seller shall deliver, or cause to be delivered, to Buyer the following (herein referred
to collectively as “Seller’s Closing Deliverables”):




                                                   7
       (a)     the duly executed Deed;

       (b)     the duly executed Bill of Sale;

       (c)     two (2) originals of the duly executed General Assignment;

       (d)    such disclosures and reports as are required by applicable state and local law in
connection with the conveyance of real property; and

        (e)   One (1) affidavit of non-foreign status in conformance with Section 1445 of the
Internal Revenue Code.

        Section 7.3 Buyer’s Closing Deliverables. At the Closing, and concurrently with the
making of deliveries by Seller of the Seller’s Closing Deliverables to Buyer as set forth in Section
7.2, Buyer shall deliver, or cause to be delivered, to Seller the following (herein referred to
collectively as “Buyer’s Closing Deliverables”):

       (a)     payment of the Purchase Price; and

       (b)     two (2) originals of the duly executed General Assignment.

        Section 7.4 Expenses. Except as expressly set forth herein, all costs, fees, transfer taxes
and expenses in connection with the transactions contemplated by this Agreement shall be paid by
the Seller.

        Section 7.5 Further Assurances. It is the intent of this Agreement that Seller shall at the
Closing convey, or cause to be conveyed, to Buyer all Property. Seller and Buyer agree that at the
Closing and any time thereafter, upon the reasonable request of Seller or Buyer, the other Party
shall execute, acknowledge and deliver such deeds, assignments, conveyances, transfers and other
instruments and documents and perform such acts as Seller or Buyer, as applicable, shall from
time to time reasonably require for the better perfecting, assuring, conveying, assigning,
transferring and confirming unto Buyer the property and rights herein conveyed or assigned or
intended now or hereafter so to be.

                                  ARTICLE VIII
                         REPRESENTATIONS AND WARRANTIES

         Section 8.1 Representations and Warranties of Seller. The Trustee has the authority to
sell the Property, subject to Bankruptcy Court approval.

        (a)    Environmental Laws. Neither Seller has, nor to Seller’s knowledge has any third
party, used, generated, manufactured, stored or disposed of any Hazardous Substance in, at, on,
under or about the Real Property or transported any Hazardous Substance to or from the Real
Property since Seller’s appointment as Trustee. Seller has not received any notice of any
investigation for violation, of any federal, state or local law, ordinance or regulation relating to
industrial hygiene, worker health and safety, or to the environmental conditions in, at, on, under
or about the Real Property including, but not limited to, soil and groundwater conditions. Seller
hereby assigns to Buyer as of the Closing all claims, counterclaims, defenses or actions, whether



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at common law, or pursuant to any other applicable federal or state or other laws which Debtor
may have against any third parties relating to the existence of any Hazardous Substance in, at, on,
under or about the Real Property.

       Section 8.2 Representations and Warranties of Buyer. Buyer represents and warrants for
the benefit and reliance of Seller as follows, as of the date of this Agreement and as of the Closing
Date:

        (a)    Status, Power and Authority. Buyer is duly organized, validly existing and in good
standing under the Laws of the state of its formation with all requisite power and authority to enter
into and carry out its obligations under this Agreement.

       (b)     Due Authorization, Execution and Delivery. The execution, delivery, and
performance of this Agreement by the persons executing the same on behalf of Buyer have been
duly and validly authorized.

       (c)     Legal, Valid, Binding and Enforceable. This Agreement and the other agreements
and instruments contemplated hereby constitute legal, valid and binding obligations of Buyer,
enforceable in accordance with their respective terms.

       (d)     No Consents. Other than consents that may be necessary to assign to Buyer the
Assigned Contracts as contemplated herein, no material consent, license, permit, order, approval
or authorization of any Governmental Authority or private party is required in connection with the
execution, delivery and performance of this Agreement by Buyer.

        (e)     No Conflict/No Breach. The execution, delivery or performance of this Agreement
do not, with or without the giving of notice and/or the passage of time (a) violate any provision of
Law applicable to Buyer or which would prevent the consummation of the transactions
contemplated by this Agreement or (b) conflict with or result in the breach or termination of, or
constitute a default under or pursuant to any indenture, mortgage or deed of trust or any judgment,
order, injunction, decree or ruling of any court or Governmental Authority, or any other agreement
or instrument by which Buyer is bound, or to which it is subject, or which would prevent the
consummation of the transactions contemplated by the Agreement.

        (f)      Brokers and Finders. Buyer has not engaged or done business with any Person who
may have a claim to, and has not incurred any obligation or liability to any Person with respect to,
any broker or agent fees or commissions, finder’s fees, or other compensation or consideration as
a result of or in connection with the transactions contemplated by this Agreement.

        Section 8.3 Survival of Representations and Warranties and Certain Covenants. Each of
the representations, warranties and covenants in this Agreement or any agreement or certificate to
be executed or delivered in connection with the transactions contemplated by this Agreement shall
survive the Closing or termination of this Agreement.

                                          ARTICLE IX
                                          COVENANTS

       Section 9.1    Access to Business and Records; Business Operations.



                                                 9
        (a)     During the period from the date hereof to the Closing Date, Seller shall maintain in
effect all Permits and Licenses obtained for the use, operation and/or development of the Property.

       (b)     During the period from the date hereof to the Closing Date, Buyer and Buyer's
advisors and other representatives shall have full access to the Property, shall be able to consult
with any and all of Debtor’s employees and other advisors and consultants regarding the Property
and shall be furnished during such period with all such information concerning the Property as
Buyer may reasonably request.

        (c)    During the period from the date hereof to the Closing Date, Seller shall promptly
furnish to Buyer all information and data in Seller’s possession, under Seller’s control, that belongs
to Debtor or to which Seller has access, reasonably requested by Buyer in order to assist Buyer to
secure any Permits and Licenses and any approvals and other authorizations necessary to own,
operate and/or develop the Property.

      (d)     Seller shall comply in all material respects with all Laws applicable to the
ownership of the Property.

       Section 9.2    Notice of Inaccuracy.

       (a)      Promptly upon either Party becoming aware of the occurrence of, or the impending
or threatened occurrence of, any event which would cause a breach of any of its own
representations or warranties contained in Section 8.1 or Section 8.2, such Party shall disclose each
such event, in reasonable detail, by means of a written notice thereof to the other Party and such
Party shall use its reasonable commercial efforts to remedy the same.

       (b)      Each Party shall, promptly upon acquiring knowledge of the occurrence of any
event that would cause the conditions to its obligations set forth in Article X and Article XI, as
applicable, to fail to be fulfilled at the Closing, notify the other Party of such event.

        (c)     Each Party shall promptly notify the other Party of any action, suit or proceeding
that shall be instituted or overtly threatened in writing against such Party to restrain, prohibit or
otherwise challenge the legality of any transaction contemplated by this Agreement.

        Section 9.3 Consummation of Agreement. Each of the Parties shall use its commercially
reasonable efforts to perform and fulfill all obligations and conditions on its part to be performed
and fulfilled under this Agreement to the end that the transactions contemplated by this Agreement
shall be fully carried out.

                               ARTICLE X
            CONDITIONS PRECEDENT TO THE OBLIGATIONS OF BUYER

        The obligations of Buyer to consummate at the Closing the purchase of the Property are
subject to Buyer becoming the Successful Bidder (whether prior to or following the conclusion of
the Auction and entry of the Sale Order or thereafter in its capacity as the Back-Up Bidder in the
event the Successful Bidder fails to close within the Back-Up Period and Buyer elects, in its sole
discretion, to become the Back-Up Bidder) and the fulfillment, prior to or at the Closing, of each




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of the following express conditions precedent (the “Buyer’s Conditions Precedent”), any or all
of which may be waived by Buyer in writing:

        Section 10.1 Representations and Warranties. Each of the representations and warranties
of Seller set forth in Section 8.1 of this Agreement shall be true and correct in all material respects
on the Closing Date as though made on the Closing Date.

        Section 10.2 Covenants. Seller shall have performed and complied in all material respects
with all of the covenants and agreements on Seller’s part to be performed and complied with as set
forth herein. Without limiting the foregoing, all covenants, conditions and contingencies set forth
in Article V and in Article IX shall be satisfied to Buyer’s sole and absolute.

        Section 10.3 No Change in Law. Since the date of this Agreement there shall have been
no change in any applicable Law that makes it illegal for any Party hereto to perform its obligations
hereunder (i) enacted (and not effectively vetoed), whenever effective, (ii) adopted as a final
regulation pursuant to formal rule making, order-issuing or regulatory authority by any agency,
board, commission, or other administrative, executive, or other regulatory body having jurisdiction
over the Property, or (iii) embodied in a final, formal ruling, order or decision of any judicial body
having jurisdiction over the Property.

        Section 10.4 Seller’s Closing Deliverables. At the Closing, and concurrently with the
delivery of the Buyer’s Closing Deliverables, Seller shall have executed and delivered, or caused
to have been delivered, to Buyer, Seller’s Closing Deliverables, each of which shall be in full force
and effect and shall be in form and substance reasonably satisfactory to Buyer.

       Section 10.5 Bankruptcy Matters. The Parties shall have received Bankruptcy Court
approval of this Agreement, the 9019 Order shall be a Final Order entered by the Bankruptcy
Order, Buyer shall be the Successful Bidder at any Auction, and the Sale Order must be a Final
Order entered by the Bankruptcy Court.


                               ARTICLE XI
            CONDITIONS PRECEDENT TO THE OBLIGATIONS OFSELLER

        The obligations of Seller to consummate at Closing the sale of the Property are subject to
Buyer becoming the Successful Bidder (whether prior to or following the conclusion of the
Auction and entry of the Sale Order or thereafter in its capacity as the Back-Up Bidder in the event
the Successful Bidder fails to close within the Back-Up Period and Buyer elects, in its sole
discretion, to become the Back-Up Bidder) and the fulfillment, prior to or at the Closing, of each
of the following express conditions precedent (the “Seller’s Conditions Precedent”), any or all
of which may be waived by Seller in writing:

       Section 11.1 Representations and Warranties. Each of the representations and warranties
of Buyer set forth in Section 8.2 of this Agreement shall be true and correct in all material respects
on the Closing Date as though made on the Closing Date.




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        Section 11.2 Covenants. Buyer shall have performed and complied in all material respects
with all of the covenants and agreements on Buyer’s part to be performed and complied with as
set forth herein.

        Section 11.3 No Change in Law. Since the date of this Agreement there shall have been
no change in any applicable Law that makes it illegal for any Party hereto to perform its obligations
hereunder (i) enacted (and not effectively vetoed), whenever effective, (ii) adopted as a final
regulation pursuant to formal rule making, order-issuing or regulatory authority by any agency,
board, commission, or other administrative, executive, or other regulatory body having jurisdiction
over the Property, or (iii) embodied in a final, formal ruling, order or decision of any judicial body
having jurisdiction over the Property.

       Section 11.4 Bankruptcy Matters. The Parties shall have received Bankruptcy Court
approval of this Agreement, Buyer shall be the Successful Bidder at any Auction, and the Sale
Order must be a Final Order entered by the Bankruptcy Court.

       Section 11.5 Buyer’s Closing Deliverables. At the Closing, and concurrently with the
delivery by the Seller of the Seller’s Closing Deliverables, Buyer shall have executed and
delivered, or caused to have been executed and delivered, to Seller, the Buyer’s Closing
Deliverables, each of which shall be in full force and effect and shall be in form and substance
reasonably satisfactory to Seller.

                                      ARTICLE XII
                                 TERMINATION; REMEDIES

       Section 12.1 Termination .

        (a)    This Agreement may be terminated prior to Closing by mutual agreement of Seller
and Buyer. Upon such termination, this Agreement shall terminate and neither Buyer nor Seller
shall have any further obligation or liability to the other hereunder.

        (b)     This Agreement shall terminate automatically in the event that (i) Buyer is not
chosen at the Auction to be the Successful Bidder or the Back-Up Bidder, or (ii) Buyer is chosen
at the Auction to be the Back-Up Bidder (to the extent Buyer elects, in its sole discretion, to become
a Back-Up Bidder), upon the expiration of the Back-Up Period without Buyer having been
designated as the Successful Bidder.

        Section 12.2 Termination by Seller. Seller may terminate this Agreement by giving
written notice to Buyer at any time prior to the Closing:

        (a)    In the event Buyer has breached any representation, warranty, or covenant
contained in this Agreement in any material respect, Seller has notified Buyer of the breach, and
the breach has continued without cure for a period of fifteen (15) days after the notice of breach;
or

        (b)      If all of Seller’s Conditions Precedent have not been satisfied or waived by Seller
on or before the Closing Date, unless the failure of any such condition(s) was caused by any act or
failure to act of Seller or by Seller’s default under or breach of this Agreement.



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       Section 12.3 Buyer’s Termination and Remedies.

        (a) In the event the Closing and the consummation of the transaction contemplated by this
Agreement do not occur by reason of a default by Seller, as Buyer’s sole and exclusive remedies
against Seller by reason thereof, Buyer may elect to either: (a) terminate this Agreement and the
Escrow created pursuant hereto, in which event except for those provisions that expressly survive
the termination of this Agreement, neither party shall have any further obligation or liability
hereunder, or (b) in the alternative, sue Seller for specific performance of Seller’s obligations under
this Agreement.

       (b) In addition, Buyer may terminate this Agreement by giving written notice to Seller at
any time prior to the Closing if all of Buyer’s Conditions Precedent have not been satisfied or
waived by Buyer on or before the Closing Date, unless the failure of any such condition(s) was
caused by any act or failure to act of Buyer or any director, officer, employee, or agent of Buyer
or by Buyer’s default under or breach of this Agreement.

        Section 12.4 Effect of Termination. If any Party terminates this Agreement pursuant to
this Article XII, this Agreement and all rights and obligations of the Parties under this Agreement
automatically end without liability against the other Party, subject to, Article XIII (Limitation of
Liability), Article XV (Jury Waiver), Article XVI (Miscellaneous Provisions), and this Section
12.4, which shall remain in full force and survive any termination of this Agreement.
Notwithstanding the foregoing, in the event this Agreement is terminated by a Party because of
the knowing and intentional breach of this Agreement by the other Party or because one or more
of the conditions to the terminating Party’s obligations under this Agreement is not satisfied as a
result of the other Party’s knowing and intentional failure to comply with its obligations under this
Agreement, the terminating Party’s right to pursue all legal rights and remedies hereunder and
under applicable Law shall survive such termination unimpaired, and to the extent of the Seller the
Release of Claims provided in Article XIV shall remain in full force and effect and survive such
termination.

                                      ARTICLE XIII
                                 LIMITATION OF LIABILITY

     Section 13.1 Limitation of Liability. IN NO EVENT WILL EITHER PARTY OR ANY
OF THEIR RESPECTIVE OFFICERS, DIRECTORS, AGENTS, CONTRACTORS,
SUBCONTRACTORS, VENDORS OR EMPLOYEES HAVE ANY LIABILITY TO THE
OTHER PARTY FOR LOSSES WHICH ARE INCIDENTAL, SPECIAL, CONSEQUENTIAL,
INDIRECT OR PUNITIVE. NEITHER PARTY SHALL BE LIABLE TO THE OTHER PARTY
TO THE EXTENT THAT SUCH OTHER PARTY HAS RECEIVED PAYMENT FOR SUCH A
CLAIM FROM ANOTHER SOURCE, AND ANY PAYMENT OBLIGATION PAYABLE BY
A PARTY SHALL BE NET OF ANY TAX BENEFITS OBTAINED BY OR INSURANCE
PROCEEDS AVAILABLE TO THE OTHER PARTY.




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                                          ARTICLE XIV
                                       RELEASE OF CLAIMS

        Section 14.1 Claims. Each of the Parties understands and acknowledges that for the
purposes of this Agreement, the term “Claims” includes without limitation all claims, disputes,
actions, causes of action, demands, liabilities, losses, suits, debts, obligations, promises,
agreements, compensation, reimbursement, fines, penalties, equitable relief, damages (including
without limitation nominal, actual, and compensatory damages, punitive or exemplary damages,
and consequential and incidental damages), attorneys’ fees, costs, court costs, interest, and expenses
of any type, nature, and kind whatsoever, whether known or unknown, matured or not matured,
fixed or contingent, accrued or not yet accrued, or suspected or unsuspected.

        Section 14.2 Related Parties. Each of the Parties understands and acknowledges that for
the purposes of this Agreement, the term “Related Persons” means an entity’s or individual’s (as
applicable) past, present, or future, direct or indirect, predecessors, successors, assigns, subsidiaries,
divisions, affiliated entities, partners, directors, officers, shareholders, members, employees, agents,
representatives, attorneys, accountants, spouses, heirs, personal representatives, devisees, and all
persons acting by, through, under, or in concert with any of them or claiming through or on behalf
of any of them.

        Section 14.3 Release of Claims. The Seller, Debtor, and the Debtor’s estate, on behalf of
themselves and each of their Related Persons (collectively, the “Releasing Parties”), fully release
and forever discharge Buyer and its Related Persons (collectively, the “Released Parties”), from
any and all Claims that the Releasing Parties had, now has, or may hereafter have against the
Released Parties by reason of any event, act, omission, transaction, or other relationship or cause
whatsoever occurring prior to the Closing Date, including but not limited to any event, act,
omission, transaction, or other relationship or cause involving or related in any way to the this
Agreement, the PBL Loan, the PBL Loan Documents, the KFI Loan, the KFI Loan Documents, the
KP Debt, including without limitation the Released Parties’ performance or alleged lack thereof
under the PBL Loan, the PBL Loan Documents, the KFI Loan, the KFI Loan Documents, or the
KP Debt, the funding of advances or failure to fund advances under the PBL Loan, the PBL Loan
Documents, the KFI Loan, the KFI Loan Documents, or the KP Debt, or otherwise involving or
related in any way to the Property (the “Release of Claims”). This Release of Claims shall be
effective upon the earlier to occur of (i) the Closing Date, or (ii) upon a breach of this Agreement
by the Seller.

        Section 14.4 Acknowledgement by the Parties.

         (a)    Each Party acknowledges and represents the following: it has had the benefit and
 advice of independent legal counsel in connection with this Agreement; this Agreement is the
 result of negotiation between the Parties, each of whom has participated in the drafting of this
 Agreement, through its respective attorneys; it has freely and voluntarily entered into this
 Agreement; it has reviewed this Agreement in its entirety; it understands the meaning of each term
 of this Agreement and the consequences of signing this Agreement; it has relied wholly upon its
 own judgment, belief, knowledge, investigation, independent legal advice, and research as to the
 advisability of entering into this Agreement; it, together with its attorneys, has made such
 investigation of the facts and the law pertaining to the Release of Claims, and all related matters



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as it deems necessary; and it has not been influenced to any extent whatsoever in entering into this
Agreement by any representations or statements regarding the same by any other Party or by
anyone representing or acting for any other Party.

        (b)     Each Releasing Party understands that it may later discover Claims or facts that
may be different from, or in addition to, those that it or any other Releasing Party now knows or
believes to exist regarding the subject matter of the Release of Claims contained in this Article
XIV, and which, if known at the time of signing this Agreement, may have materially affected
this Release of Claims and such Releasing Party’s decision to enter into it and grant the Release
of Claims contained in this Article XIV. Nevertheless, the Releasing Parties intend to fully,
finally, and forever settle and release all Claims that now exist, may exist, or previously existed,
as set out in the Release of Claims contained in this Article XIV, whether known or unknown,
foreseen or unforeseen, or suspected or unsuspected, and the Release of Claims given herein is and
will remain in effect as a complete release, notwithstanding the discovery or existence of such
additional or different facts. The Releasing Parties hereby waive any right or Claim that might
arise as a result of such different or additional Claims or facts. The Releasing Parties have been
made aware of, and understand, the provisions of California Civil Code Section 1542 (“Section
1542”), which provides: “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT
THE CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO EXIST IN
HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE AND THAT, IF
KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER
SETTLEMENT WITH THE SELLER OR RELEASED PARTY.” The Releasing Parties
expressly, knowingly, and intentionally waive any and all rights, benefits, and protections of
Section 1542 and of any other state or federal statute or common law principle limiting the scope
of a general release.


                                          ARTICLE XV
                                         JURY WAIVER

     Section 15.1 Jury Trial Waiver. SELLER AND BUYER HEREBY WAIVE THEIR
RIGHTS TO TRIAL BY JURY OF ANY DISPUTE ARISING OUT OF OR RELATING TO
THIS AGREEMENT ALLEGED AGAINST EACH OTHER; AND SELLER AND BUYER
HEREBY WAIVE ANY RIGHTS TO PROCEED BY WAY OF A CLASS ACTION, TO SERVE
IN ANY REPRESENTATIVE CAPACITY FOR OTHERS, AND TO ACT AS A PRIVATE
ATTORNEY GENERAL IN ANY CLAIM OR CONTROVERSY ARISING OUT OF OR
RELATING TO THIS AGREEMENT OR THE BREACH, TERMINATION, ENFORCEMENT,
INTERPRETATION OR VALIDITY THEREOF.

                                      ARTICLE XVI
                               MISCELLANEOUS PROVISIONS

        Section 16.1 Notices. Any notice required or permitted to be given under this Agreement
shall be in writing and shall be deemed to be an adequate and sufficient notice if given in writing
and service is made either by (i) personal delivery, in which case the service shall be deemed
received the date of such personal delivery, (ii) nationally recognized overnight air courier service,
next day delivery, prepaid, in which case the notice shall be deemed to have been received one (1)



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Business Day following delivery to such nationally recognized overnight air courier service, or
(iii) at the time of being sent by email provided the email was sent prior to 5:00 p.m. Pacific Time
(and otherwise shall be deemed to have been delivered on the next Business Day), and to the
following street or email addresses (or such other address as either party may from time to time
specify in writing to the other).

       (a) Any notice or demand to Seller shall be addressed to Seller at:

                                      Santa Clarita, LLC
                                      Attn: Michael Carmel, Chapter 11 Trustee
                                      Law Offices of Michael W. Carmel, Ltd.
                                      80 E. Columbus Avenue
                                      Phoenix, Arizona 85012
                                      Email: michael@mcarmellaw.com

       (b) Any notice or demand to Buyer shall be addressed to Buyer at:

                                      Blue Ox Holdings LLC
                                      c/o Island View Ventures, LLC
                                      120 E. De La Guerra Street, Suite D
                                      Santa Barbara, CA 93101
                                      Attn: Jeff Warmoth
                                      E-mail: jeffwarmoth@sbislandview.com

               With a copy to:        Garman Turner Gordon
                                      7251 Amigo Street, Suite 210
                                      Las Vegas, NV 89119
                                      Attn: Greg Garman, Esq. and Teresa M. Pilatowicz, Esq.
                                      E-mail: ggarman@gtg.legal and tpilatowicz@gtg.legal

        Section 16.2 Governing Law; Jurisdiction. The internal laws of the State of Arizona
applicable to contracts made and wholly performed therein shall govern the validity, construction,
performance and effect of this Agreement. Each of the Parties hereby irrevocably and
unconditionally agrees that any legal action, suit, dispute or proceeding arising under, out of or in
connection with this Agreement shall be brought in the Bankruptcy Court (for so long as the
Bankruptcy Court has jurisdiction) and otherwise in the Federal or State courts of competent
jurisdiction located in the County of Maricopa in the State of Arizona and each of the Parties hereto
irrevocably accepts and submits itself to the exclusive jurisdiction of such courts, generally and
unconditionally, and waives any objections as to venue or inconvenient forum. Notwithstanding
the foregoing consent to jurisdiction, so long as the Bankruptcy Court has jurisdiction, each of the
Parties agrees that the Bankruptcy Court shall have exclusive jurisdiction with respect to any
matter under or arising out of or in connection with this Agreement, and hereby submits to the
jurisdiction of the Bankruptcy Court.

        Section 16.3 Counterparts. This Agreement may be executed in one or more counterparts,
all of which shall be considered one and the same agreement.




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        Section 16.4 Integrated Agreement. This Agreement and the other agreements described
herein supersede all prior and contemporaneous agreements, oral and written, between the Parties
hereto with respect to the subject matter hereof.

        Section 16.5 No Oral Modification. Neither this Agreement, nor any provision hereof,
may be changed, waived, discharged, supplemented or terminated orally, but only by an agreement
in writing signed by the Party against which the enforcement of such change, waiver, discharge or
termination is sought.

        Section 16.6 Successors and Assigns; No Third Party Beneficiaries. This Agreement shall
inure to the benefit of and be binding upon the Parties hereto and their respective successors and
assigns. Except as specifically provided in this Section 16.6, this Agreement is not intended to,
and shall not, create any rights in any Person whomsoever except Buyer and Seller.

        Section 16.7 Assignment. Neither Party shall assign its rights or delegate its duties under
this Agreement without the prior written consent of the other Party hereto, except that Buyer may
assign its rights and obligations under this Agreement to an affiliate of Buyer, without Seller’s
consent and without further approval of the Bankruptcy Court.

        Section 16.8 Partial Invalidity. If any provision of this Agreement, or any application
thereof, should be held by a court of competent jurisdiction to be invalid, void or unenforceable,
all other provisions of this Agreement, and all applications thereof, not held invalid, void or
unenforceable shall continue in full force and effect and shall in no way be affected, impaired or
invalidated thereby, provided that the severance from this Agreement of such provision does not
materially impair the ability of the Parties to consummate the transactions contemplated hereby.
In lieu of such invalid, void or unenforceable provision, there shall be added to this Agreement a
term, provision, covenant or condition that is valid, not void and enforceable and is as similar to
such invalid, void or unenforceable provision as may be possible.

        Section 16.9 No Presumption Against the Draftsman. Each Party having been represented
in the negotiation of this Agreement, and having had ample opportunity to review the language
hereof, there shall be no presumption against any Party on the ground that such Party was
responsible for preparing this Agreement, any of Seller’s Closing Deliverables or any of Buyer’s
Closing Deliverables.

        Section 16.10 Expenses. All expenses incurred by the Parties hereto in connection with or
related to the authorization, preparation and execution of this Agreement and the Closing of the
transaction contemplated hereby, including fees and expenses of agents, representatives, counsel
and accountants employed by any such Party, shall be borne solely and entirely by the Party which
has incurred the same.


                     [THIS SPACE LEFT BLANK INTENTIONALLY.
                            SIGNATURE PAGES FOLLOW.]




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        IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
forth below their respective signatures below.

                                          SELLER:

                                          SANTA CLARITA, LLC


                                          By: ______________________________
                                               Michael Carmel, Chapter 11 Trustee



                                          BUYER:

                                          BLUE OX HOLDINGS LLC


                                          By: ______________________________
                                          Its: ______________________________
                                          Print Name: _______________________
                                     APPENDIX A
                                         to
                            PURCHASE AND SALE AGREEMENT

                                    Glossary of Defined Terms


          “363 Motion” has the meaning ascribed to such term in Section 5.1(b).

        “9019 Order” means that certain order from the Bankruptcy Court approving the Trustee’s
Motion to Approve Settlement Agreement Regarding Claims of Blue Ox Holdings, LLC [ECF No.
400] filed on January 14, 2022 by the Chapter 11 Trustee.

          “Actions” has the meaning ascribed to such term in Section 8.1(k).

          “Administrative Cash Component” has the meaning ascribed to such term in Section
4.1(a).

       “Agreement” means this Purchase and Sale Agreement, together with all Schedules,
Exhibits, Appendices and other attachments hereto, and all amendments and supplements hereto
and thereto.

       “Allowed Claim” means the allowed claim of the Buyer in the Bankruptcy Case in the
total amount of Two Hundred Thirty-Two Million Five Hundred Thousand Dollars
($232,500,000.00), as follows: (i) Two Hundred Two Million Seven Hundred Thousand Dollars
on account of the PBL Loan ($202,700,000.00), (ii) Twenty-Seven Million Dollars
($27,000,000.00) on account of the KFI Loan, and (iii) Two Million Eight Hundred Thousand
Dollars ($2,800,000.00) on account of the KP Debt.

       “Auction” means the bankruptcy auction of the Debtor’s Property, conducted by Seller
pursuant to the Bidding Procedures.

          “Back-Up Bidder” has the meaning ascribed to such term in Section 5.2(c).

          “Back-Up Period” has the meaning ascribed to such term in Section 5.2(c).

       “Bankruptcy Case,” “Bankruptcy Code,” and “Bankruptcy Court” have the meanings
ascribed to said terms in the Recitals.

          “Bermite” means Bermite Recovery, L.L.C., a Delaware limited liability company.

      “Bermite Property” means that certain real property owned by Bermite located in the
County of Los Angeles, California, known as Assessor’s Parcel Numbers 2836-067-002 and 2836-
067-902.

          “Bidding Procedures” has the meaning ascribed to such term in Section 5.2(a).




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        “Bill of Sale” means that certain General Assignment and Bill of Sale, the form of which
is attached hereto as Exhibit “D”, to be executed by Seller and delivered at the Closing providing
for the sale, assignment, transfer and conveyance of the Personal Property from Seller to Buyer.

       “Business Day” means any day other than a Saturday, Sunday or other day upon which
banks in the State of Arizona are authorized or required to be closed.

       “Buyer” means Blue Ox Holdings LLC, a Delaware limited liability company, or its
assignee.

       “Buyer’s Closing Deliverables” has the meaning ascribed to such term in Section 7.3.

       “Buyer’s Conditions Precedent” has the meaning ascribed to such term in Article X.

       “Buyer’s Title Policy” has the meaning ascribed to such term in Section 3.3.

       “Cash Consideration” has the meaning ascribed to such term in Section 4.1(a).

       “Claims” has the meaning ascribed to such term in Section 14.1.

      “Closing” means the proceedings pursuant to which the sale of the Property is
consummated.

       “Closing Date” has the meaning ascribed to such term in Section 7.1.

        “Contribution Component” means, solely in the event that the Closing occurs under this
Agreement, a contribution of an additional cash payment up to Two Million Dollars
($2,000,000.00) to be paid by Buyer for the benefit of the unsecured creditors in accordance with
the terms of the Settlement Agreement.

       “Debtor” means Santa Clarita, L.L.C., a Delaware limited liability company.

        “Deed” means that certain Grant Deed, the form of which is attached hereto as Exhibit
“C”, to be executed by Seller and delivered at the Closing providing for the sale, assignment,
transfer and conveyance of the Real Property from Seller to Buyer.

       “Escrow” has the meaning ascribed to such term in Section 3.1.

       “Escrow Holder” means First American Title Company.

        “Environmental Laws” shall mean any present and future local, state, and federal law
relating to the environment and environmental conditions, including, without limitation, the
Resource Conservation and Recovery Act of 1976 (“RCRA”), 42 U.S.C. §6901 et seq., the
Comprehensive Environmental Response, Compensation and Liability Act of 1980 (“CERCLA”),
42 U.S.C. §§9601-9658, as amended by the Superfund Amendments and Reauthorization Act of
1986 (“SARA”), the Hazardous Materials Transportation Act, 49 U.S.C. §6901, et seq., the Federal
Water Pollution Control Act, 33 U.S.C. §§1251 et seq., the Clean Air Act, 42 U.S.C. §§741 et seq.,
the Clean Water Act, 33 U.S.C. §7401 et seq., the Toxic Substances Control Act, 15 U.S.C.



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§§2601-2629, the Safe Drinking Water Act, 42 U.S.C. §§300f-300j, and all the regulations, orders,
decrees now or hereafter promulgated thereunder.

       “Final Order” has the meaning ascribed to such term in Section 5.1(c).

        “General Assignment” means that certain General Assignment and Bill of Sale, the form
of which is attached hereto as Exhibit “D”, to be executed by Seller and delivered at the Closing
providing for the sale, assignment, transfer and conveyance of the Property from Seller to Buyer.

        “Governmental Authority” means the federal government of the United States, the
government of any state of the United States or any political subdivision thereof, and any Person
exercising executive, legislative, judicial, regulatory or administrative functions of or pertaining
to government and any other governmental or quasi-governmental entity, instrumentality, agency,
authority or commission.

        “Hazardous Substance” shall mean any hazardous or toxic materials, substances or
wastes that are or become regulated by any federal, state or local governmental authority,
including, without limitation, (a) substances defined as “hazardous substances,” “hazardous
materials” or “toxic substances” in any Environmental Laws; (b) any materials, substances or
wastes which are toxic, ignitable, radioactive, corrosive or reactive and which are regulated by any
local governmental authority, any agency of the State of California or any agency of the United
States of America; (c) asbestos, mold, fungi, petroleum and petroleum based products, urea
formaldehyde foam insulation, polychlorinated biphenyls (pcbs), and freon and other
chlorofluorocarbons; and (d) those substances defined as any of the foregoing in the regulations
adopted and publications promulgated pursuant to each of the aforesaid laws.

       “Intangible Personal Property” has the meaning ascribed to such term in Section 2.1(c).

       “KFI Deed of Trust” means that certain Deed of Trust, Assignment of Leases, Assignment
of Rents, Security Agreement and Fixture Filing dated as of February 29, 2000, executed by Debtor
and Bermite in favor of Kennedy Funding, Inc., as agent for the lenders specified therein and
predecessor-in-interest to Buyer, recorded on March 1, 2000 in the Official Records, as Document
No. XX-XXXXXXX, encumbering the Real Property (as a second priority lien subject to the KP Lien)
and the Bermite Property.

        “KFI Loan” means that certain loan from Kennedy Funding, Inc., as agent for the lenders
specified therein and predecessor-in-interest to Buyer, to Debtor and Bermite, in the original stated
principal amount of Twenty-Two Million Three Hundred Thousand Dollars ($22,300,000.00).

       “KFI Loan Documents” means collectively (i) the KFI Note, (ii) the KFI Deed of Trust,
and (iii) all other documents, agreements, security instruments, certificates and affidavits
evidencing and related to the KFI Loan.

        “KFI Note” that certain that certain Promissory Note dated February 29, 2000, in the
original stated principal amount of the KFI Loan, executed by the Debtor and Bermite.

     “KP Debt” means that certain debt due Buyer in the original stated principal amount of
One Million Eight Hundred Thousand Dollars ($1,800,000.00) for a mechanics lien recorded


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against the Property dated April 16, 2001 and settlement thereof dated in or about January 26, 2005
and approved by the Bankruptcy Court on December 22, 2005.

       “KP Lien” means that certain first priority lien on the Real Property securing the KP Debt.

       “Land” has the meaning ascribed to said term in the Recitals.

        “Law(s)” means any law, statute, act, decree, ordinance, rule, writ, injunction, directive
(to the extent having the force of law), order (unilateral or consensual), final non-appealable
judgment directly applicable to the relevant Party, treaty, code or regulation (including any of the
foregoing relating to health or safety matters), or any interpretation of any of the foregoing, as
enacted, issued or promulgated by any Governmental Authority, including all amendments,
modifications, extensions, replacements or reenactments thereof or thereto.

       “Lender Financing” means financing which may be provided by Buyer to qualified
bidders in an amount of up to the lesser of (x) forty percent (40%) of such competing bidders total
bid amount and (y) One Hundred Million Dollars ($100,000,000.00), which financing shall be
secured by a first priority deed of trust on the Property, shall bear interest at twelve percent (12%)
per annum, shall have a maturity of two years from the date of closing on the sale of the Property,
and the loan documents governing such Lender Financing shall be completed at least fifteen (15)
days prior to the date scheduled for the Auction.

       “Loss(es)” means any and all assessments, judgments, damages (including natural
resource damage), penalties, interest, fines, investigations, liabilities (including strict liability),
reasonable costs and expenses of investigation and defense of any claim.

      “Official Records” means the Official Records of Los Angeles County, California
Recorder’s Office.

       “Opening of Escrow” has the meaning ascribed to such term in Section 3.1.

       “Party(ies)” has the meaning ascribed to such term in the preamble hereto.

        “PBL Deed of Trust” means that certain Deed of Trust with Assignment of Rents, Security
Agreement and Fixture Filing dated as of December 24, 1998, executed by the Debtor in favor of
Porta Bella, the predecessor-in-interest to Buyer, and recorded on January 11, 1999 in the Official
Records, as Document No. XX-XXXXXXX encumbering the Real Property (as a third priority lien
subject to the KP Lien and the KFI Deed of Trust).

       “PBL Loan” means that certain loan from Porta Bella, the predecessor-in-interest to
Buyer, to Debtor, in the original stated principal amount up to Thirty-Five Million Dollars
($35,000,000.00).

       “PBL Loan Documents” means collectively (i) the PBL Note, (ii) the PBL Deed of Trust,
and (iii) all other documents, agreements, security instruments, certificates and affidavits
evidencing and related to the PBL Loan.




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        “PBL Note” that certain Nonrecourse Secured Promissory Note dated December 7, 1998,
in the original stated principal amount of the PBL Loan, executed by the Debtor.

          “Permitted Encumbrances” has the meaning ascribed to such term in Section 6.1.

          “Permits and Licenses” has the meaning ascribed to such term in Section 2.1(e).

         “Person” means any individual natural person or any artificial person including any
corporation, general or limited partnership, joint venture, association, unincorporated organization,
trust, limited liability company or partnership, Governmental Authority or other entity.

          “Personal Property” has the meaning ascribed to such term in Section 2.1(e).

          “Petition Date” has the meaning ascribed to such term in the Recitals hereto.

          “Porta Bella” means Porta Bella Lender, L.L.C., a Delaware limited liability company.

          “Property” has the meaning ascribed to such term in Section 2.1.

          “Property Tax Cash Component” has the meaning ascribed to such term in Section
4.1(a).

          “Purchased Claims” means those certain claims set forth on Schedule 1 to this Agreement.

          “Purchase Price” has the meaning ascribed to such term in Section 4.1(a).

          “Real Property” has the meaning ascribed to such term in Section 2.1(a).

          “Related Persons” has the meaning ascribed to such term in Section 7.1.

          “Release of Claims” has the meaning ascribed to such term in Section 14.2.

          “Released Parties” has the meaning ascribed to such term in Section 14.3.

          “Releasing Parties” has the meaning ascribed to such term in Section 14.3.

          “Sale Order” has the meaning ascribed to such term in Section 5.1(b).

          “Section 1542” has the meaning ascribed to such term in Section 14.4.

        “Seller” means Michael Carmel, who is serving as the Chapter 11 Trustee of the Debtor
in the Bankruptcy Case.

          “Seller’s Closing Deliverables” has the meaning ascribed to such term in Section 7.2.

          “Seller’s Conditions Precedent” has the meaning ascribed to such term in Article XI.

       “Settlement Agreement” means that certain Settlement Agreement executed January 12
2022, by and between the Chapter 11 Trustee, by and on behalf of the Debtor, and Buyer.


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        “Successful Bidder” means the bidder who shall have submitted the highest or otherwise
best bid at the conclusion of the Auction in accordance with the Bidding Procedures.

       “Tangible Personal Property” has the meaning ascribed to such term in Section 2.1(b).

       “Title Company” means First American Title Company.




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EXHIBITS:

Exhibit A – Land

Exhibit B – Sale Order

Exhibit C – Grant Deed

Exhibit D – General Assignment and Bill of Sale



SCHEDULES:

Schedule 1 – Purchased Claims
EXHIBIT A




EXHIBIT A
                                                                   Order Number: OSA-6830054 (mwhp)
                                                                    Page Number: 15




                                         LEGAL DESCRIPTION

Real property in the City of Santa Clarita, County of Los Angeles, State of California, described as
follows:

PARCEL 1: Intentionally not utilized

PARCEL 2: (PORTION OF APN: 2836-012-032)

THAT PORTION OF THE RANCHO SAN FRANCISCO, IN THE CITY OF SANTA CLARITA, DESCRIBED AS
FOLLOWS:

COMMENCING AT THE NORTHEAST CORNER OF LOT 62, OF ST. JOHN'S SUBDIVISION, AS PER MAP
RECORDED IN BOOK 196 PAGE 304 OF MISCELLANEOUS RECORDS, IN THE OFFICE OF THE COUNTY
RECORDER OF SAID COUNTY; THENCE ALONG THE EASTERLY BOUNDARY LINE OF RANCHO SAN
FRANCISCO NORTH 1° 31' 25" EAST 276.88 FEET TO A POINT DESIGNATED STATION NO. 6 OF
RANCHO SAN FRANCISCO; THENCE NORTH 89° 59' 00" WEST 4,633.40 FEET; THENCE NORTH 25° 23'
45" EAST 433.40 FEET; THENCE NORTH 34° 56' 05" WEST, 703.93 FEET TO THE TRUE POINT OF
BEGINNING; THENCE SOUTH 34° 56' 05" EAST 703.93 FEET; THENCE SOUTH 25° 23' 45" WEST 433.40
FEET; THENCE SOUTH 89° 59' 00" EAST 308.40 FEET; THENCE NORTH 25° 21' 00" EAST 570 FEET;
THENCE NORTH 34° 58' 50" WEST 703.93 FEET; THENCE NORTH 35° 40' 25" WEST 1,018 FEET MORE
OR LESS, TO THE SOUTHEASTERLY RIGHT OF WAY LINE OF THE SOUTHERN PACIFIC RAILROAD;
THENCE SOUTHWESTERLY ALONG THE SOUTHEASTERLY RIGHT OF WAY LINE OF THE SOUTHERN
PACIFIC RAILROAD TO A POINT WHICH BEARS NORTH 35° 37' 40" WEST FROM THE TRUE POINT OF
BEGINNING; THENCE SOUTH 35° 37' 40" EAST 878.59 FEET MORE OR LESS, TO THE TRUE POINT OF
BEGINNING.

EXCEPT ALL OIL, GAS AND OTHER HYDROCARBON SUBSTANCES LYING UNDER AND BENEATH SAID
LAND, TOGETHER WITH THE RIGHT TO ENTER UPON SAID REAL PROPERTY TO EXPLORE, DRILL FOR,
AND EXTRACT SAME, INCLUDING THE RIGHT TO DRILL FOR, AND USE WATER NECESSARY IN
CONNECTION WITH SAID OPERATIONS, AND RIGHT OF INGRESS AND EGRESS TO, OVER, ACROSS AND
UPON SAID REAL PROPERTY, AND THE RIGHT TO ERECT, AND USE SUCH TANKS, MACHINERY, PIPE
LINES AND BUILDINGS, AS MAY BE NECESSARY IN CONNECTION WITH SAID OPERATIONS, AS
RESERVED IN THE DEED FROM JULIUS R. SCHWARTZ, AND WIFE RECORDED JULY 23, 1951 IN BOOK
36817 PAGE 287 OFFICIAL RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

PARCEL 3: (PORTION OF APN'S: 2836-012-012 AND 2836-012-032)

THAT PORTION OF THE RANCHO SAN FRANCISCO, IN THE CITY OF SANTA CLARITA, DESCRIBED AS
FOLLOWS:

BEGINNING AT THE MOST WESTERLY CORNER OF THE PARCEL OF LAND DESCRIBED IN THE DEED TO
LOS ANGELES POWDER COMPANY, RECORDED IN BOOK 43 PAGE 73 OFFICIAL RECORDS IN THE
OFFICE OF THE COUNTY RECORDER OF SAID COUNTY; THENCE SOUTH 86° 12' 40" WEST 2,925.28
FEET TO THE EASTERLY LINE OF TRACT 1801, AS PER MAP RECORDED IN BOOK 21 PAGES 158 AND
159 OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY; THENCE SOUTHERLY
ALONG SAID EASTERLY LINE TO THE NORTHERLY LINE OF LOT 60, OF THE ST. JOHN SUBDIVISION, AS
PER MAP RECORDED IN BOOK 196 PAGE 304 OF MISCELLANEOUS RECORDS, IN THE OFFICE OF THE
COUNTY RECORDER OF SAID COUNTY; THENCE EASTERLY ALONG SAID NORTHERLY LINE TO THE
SOUTHWESTERLY LINE OF SAID PARCEL OF LAND, DESCRIBED IN THE DEED RECORDED IN BOOK 43
PAGE 73 OFFICIAL RECORDS; THENCE ALONG SAID SOUTHWESTERLY LINE NORTH 60° 06' WEST TO


                                            First American Title
                                                            Order Number: OSA-6830054 (mwhp)
                                                             Page Number: 16

AN ANGLE POINT THEREIN; THENCE ALONG SAID SOUTHWESTERLY LINE NORTH 41° 52' WEST 234.34
FEET, AND NORTH 19° 19' 40" WEST 343.03 FEET TO THE POINT OF BEGINNING.

EXCEPT THEREFROM AN UNDIVIDED 3 PERCENT OF ALL THE OIL, GAS, OTHER HYDROCARBON
SUBSTANCES AND MINERALS IN AND UNDER SAID LAND, AS GRANTED TO LOS ANGELES HOME
COMPANY, A CORPORATION BY DEED RECORDED FEBRUARY 10, 1949 AS INSTRUMENT NO. 852 IN
BOOK 29022 PAGE 337 OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER OF SAID
COUNTY.

ALSO EXCEPT THEREFROM AN UNDIVIDED 0.5 PERCENT OF ALL THE OIL, GAS, OTHER HYDROCARBON
SUBSTANCES AND MINERALS, IN AND UNDER SAID LAND, AS GRANTED TO NORMA COLEMAN, A
WIDOW, BY DEED RECORDED FEBRUARY 21, 1949 AS INSTRUMENT NO. 802 IN BOOK 29421 PAGE 270
OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

PARCEL 4: (PORTION OF APN'S: 2836-012-012 AND 2836-012-032)

PART OF THE RANCHO SAN FRANCISCO, IN THE CITY OF SANTA CLARITA, AND PART OF ST. JOHN'S
SUBDIVISION OF THE RANCHO SAN FRANCISCO, AS PER MAP RECORDED IN BOOK 196 PAGE 306 OF
MISCELLANEOUS RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, DESCRIBED
AS A WHOLE AS FOLLOWS:

BEGINNING AT A POINT DISTANT NORTH 9° 11' WEST 408.50 FEET AND NORTH 86° 12' 40" EAST
2,925.58 FEET FROM THE SOUTHEAST CORNER OF BLOCK 15 OF TRACT 1801, AS PER MAP RECORDED
IN BOOK 21 PAGES 158 AND 159 OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID
COUNTY; THENCE SOUTH 19° 19' 40" EAST 343.03 FEET TO A POINT ON THE NORTHERLY LINE OF A
ROAD; THENCE ALONG SAID NORTHERLY LINE SOUTH 41° 52' EAST 234.34 FEET; THENCE ALONG
SAID NORTHERLY LINE SOUTH 60° 06' 06" EAST 727.59 FEET; THENCE ALONG SAID NORTHERLY LINE
SOUTH 69° 29' EAST 1,653.48 FEET; THENCE ALONG SAID NORTHERLY LINE NORTH 86° 51' EAST
153.33 FEET; THENCE NORTH 25° 21' EAST 1,288.62 FEET; THENCE NORTH 34° 58' 50" WEST 703.93
FEET; THENCE NORTH 35° 40' 25" WEST 894.02 FEET, MORE OR LESS, TO A POINT ON THE
SOUTHERLY LINE OF THE RIGHT OF WAY OF THE SOUTHERN PACIFIC RAILROAD; THENCE
FOLLOWING THE SOUTHERLY LINE OF SAID RIGHT OF WAY TO A POINT NORTHWESTERLY 476.48
FEET FROM THE POINT OF INTERSECTION OF THE SOUTHWESTERLY LINE OF THE SOUTHERN PACIFIC
RAILROAD RIGHT OF WAY, AND A RADIAL LINE THROUGH THE SOUTHEASTERLY END OF A SINGLE
BENT CATTLE PASS 15 FEET LONG, AND DESCRIBED AS NO. 448-E, IN THE DEED FROM THE NEWHALL
LAND AND FARMING COMPANY, A CORPORATION TO R.A. BAKER, RECORDED IN BOOK 4055 PAGE 131
OFFICIAL RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, BENEATH THE
SAID SOUTHERLY PACIFIC RAILROAD; THENCE FROM SAID POINT ,SOUTH 51° 52' WEST 839.90 FEET
TO THE SOUTHEASTERLY LINE OF THAT CERTAIN RESERVOIR WHICH WAS RESERVED, AND EXCEPTED
IN DEED RECORDED IN BOOK 4055 PAGE 131 OFFICIAL RECORDS ABOVE; THENCE SOUTH 8° 29' 50"
WEST 173.49 FEET, SOUTH 80° 35' 10" WEST 91.10 FEET, SOUTH 57° 54' 10" WEST 232.35 FEET,
ALONG SAID SOUTHEASTERLY BOUNDARY LINE OF AFORESAID RESERVOIR; THENCE SOUTH 8° 00' 10"
WEST TO THE POINT OF BEGINNING.

PARCEL 5: (PORTION OF APN: 2836-012-012)

THAT PORTION OF LOT 62 OF ST. JOHN SUBDIVISION, IN THE CITY OF SANTA CLARITA, AS PER MAP
RECORDED IN BOOK 196 PAGE 304 OF MISCELLANEOUS RECORDS, IN THE OFFICE OF THE COUNTY
RECORDER OF SAID COUNTY, DESCRIBED AS FOLLOWS:

BEGINNING AT THE INTERSECTION OF THE WEST LINE OF SAID LOT 62, WITH THE SOUTHERLY LINE
OF THE LAND DESCRIBED IN DEED TO THE LOS ANGELES POWDER COMPANY, RECORDED IN BOOK 43
PAGE 73 OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY; THENCE
SOUTHERLY ALONG SAID WEST LINE TO THE NORTH LINE OF TRACT 1079, AS PER MAP RECORDED IN

                                     First American Title
                                                            Order Number: OSA-6830054 (mwhp)
                                                             Page Number: 17

BOOK 18 PAGE 155 OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY; THENCE
EAST ALONG THE NORTH LINE OF SAID TRACT 1079, TO THE EAST LINE OF THE RANCHO SAN
FRANCISCO; THENCE NORTHERLY ALONG SAID EAST LINE TO THE NORTH LINE OF SAID LOT 62;
THENCE WEST ALONG THE LAST MENTIONED NORTH LINE TO THE SOUTHEAST LINE OF THE LAND
DESCRIBED IN SAID DEED, RECORDED IN BOOK 43 PAGE 73, OR IN THE OFFICE OF THE COUNTY
RECORDER OF SAID COUNTY; THENCE SOUTHWESTERLY AND WESTERLY ALONG THE
SOUTHEASTERLY AND SOUTHERLY BOUNDARY OF THE LAND DESCRIBED IN SAID DEED TO THE POINT
OF BEGINNING.

EXCEPT THE WEST 2640 FEET OF THE SOUTH 3,300 FEET THEREOF.

ALSO EXCEPT THE EAST 641.74 FEET OF THE NORTH 641.74 FEET THEREOF.

ALSO EXCEPT THEREFROM THAT PORTION THEREOF DESCRIBED AS BEGINNING AT A POINT ON THE
NORTH LINE OF LOT "A" OF TRACT 1079, AS PER MAP RECORDED IN BOOK 18 PAGE 155 OF MAPS, IN
THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, DISTANT EASTERLY THEREON 2,640 FEET
FROM ITS INTERSECTION WITH THE WEST LINE OF SAID LOT 62; THENCE NORTHERLY AND PARALLEL
WITH SAID WEST LINE, 2.617 FEET MORE OR LESS, TO THE NORTHERLY LINE OF THE SOUTH 160
ACRES OF THAT PORTION OF SAID LOT 62, WHICH IS BOUNDED ON THE SOUTH BY SAID NORTH LINE
OF SAID LOT "A", AND ON THE WEST BY A LINE PARALLEL WITH THE WEST LINE OF SAID LOT 62,
WHICH PASSES THROUGH A POINT IN SAID NORTH LINE OF SAID LOT "A", DISTANT EASTERLY ALONG
SAID NORTH LINE 2,640 FEET FROM SAID WEST LINE OF LOT 62; THENCE EASTERLY ALONG THE
NORTH LINE OF SAID SOUTH 160 ACRES, 2,706 FEET MORE OR LESS, TO THE EAST LINE OF SAID LOT
62; THENCE SOUTHERLY ALONG THE EAST LINE, 2,618 FEET MORE OR LESS, TO THE NORTH LINE OF
SAID LOT "A" THENCE WEST ALONG SAID NORTH LINE 2,640 FEET MORE OR LESS TO THE POINT OF
BEGINNING.

ALSO EXCEPT THEREFROM AN UNDIVIDED 3 PERCENT OF ALL THE OIL, GAS OTHER HYDROCARBON
SUBSTANCES AND MINERALS IN AND UNDER SAID LAND, AS GRANTED TO LOS ANGELES HOME
COMPANY, A CORPORATION BY DEED RECORDED FEBRUARY 10, 1949 AS INSTRUMENT NO. 852 IN
BOOK 29022 PAGE 337 OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER OF SAID
COUNTY.

ALSO EXCEPT THEREFROM AN UNDIVIDED 0.5 PERCENT OF ALL THE OIL, GAS OTHER HYDROCARBON
SUBSTANCES AND MINERALS IN AND UNDER SAID LAND, AS GRANTED TO NORMA COLEMAN, A
WIDOW BY DEED RECORDED FEBRUARY 21, 1949 AS INSTRUMENT NO. 802 IN BOOK 29421 PAGE 270
OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

PARCEL 6: (PORTION OF APN: 2836-012-012)

THE WEST 2,640 FEET OF THE SOUTH 3,300 FEET OF LOT 62 OF ST. JOHN'S SUBDIVISION OF RANCHO
SAN FRANCISCO, IN THE CITY OF SANTA CLARITA, AS PER MAP RECORDED IN BOOK 196 PAGE 304, ET
SEQ. OF MISCELLANEOUS RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

EXCEPT THAT PORTION LYING WITHIN LOT 48 OF TRACT 34144.

ALSO EXCEPT THEREFROM AN UNDIVIDED 3 PERCENT OF ALL THE OIL, GAS OTHER HYDROCARBON
SUBSTANCES AND MINERALS IN AND UNDER SAID LAND, AS GRANTED TO LOS ANGELES HOME
COMPANY, A CORPORATION BY DEED RECORDED FEBRUARY 10, 1949 AS INSTRUMENT NO. 852 IN
BOOK 29022 PAGE 337 OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER OF SAID
COUNTY.

ALSO EXCEPT THEREFROM AN UNDIVIDED 0.5 PERCENT OF ALL THE OIL, GAS OTHER HYDROCARBON
SUBSTANCES AND MINERALS IN AND UNDER SAID LAND, AS GRANTED TO NORMA COLEMAN, A

                                     First American Title
                                                            Order Number: OSA-6830054 (mwhp)
                                                             Page Number: 18

WIDOW BY DEED RECORDED FEBRUARY 21, 1949 AS INSTRUMENT NO. 802 IN BOOK 29421 PAGE 270
OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

PARCEL 7: (PORTION OF APN'S: 2836-012-012 AND 2836-012-032)

THAT PORTION OF THE RANCHO SAN FRANCISCO, IN THE CITY OF SANTA CLARITA, DESCRIBED AS
FOLLOWS:

BEGINNING AT THE POINT OF INTERSECTION OF THE EASTERLY LINE OF TRACT 1801, AS PER MAP
RECORDED IN BOOK 21 PAGES 158 AND 159 OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF
SAID COUNTY, WITH THE NORTHERLY LINE OF LOT 60, OF THE ST. JOHN'S SUBDIVISION, AS PER MAP
RECORDED IN BOOK 196 PAGE 304 OF MISCELLANEOUS RECORDS, IN THE OFFICE OF THE COUNTY
RECORDER OF SAID COUNTY; THENCE EASTERLY ALONG SAID NORTHERLY LINE TO THE
SOUTHWESTERLY LINE OF THE PARCEL OF LAND DESCRIBED IN THE DEED TO THE LOS ANGELES
POWDER COMPANY, A CORPORATION RECORDED IN BOOK 43 PAGE 73 OFFICIAL RECORDS, IN THE
OFFICE OF THE COUNTY RECORDER OF SAID COUNTY; THENCE ALONG SAID SOUTHWESTERLY LINE
SOUTH 60° 06' EAST, TO AN ANGLE POINT THEREIN; THENCE ALONG SAID SOUTHWESTERLY LINE
SOUTH 69° 29' EAST TO THE EASTERLY LINE OF SAID LOT 60, OF THE ST. JOHN SUBDIVISION;
THENCE SOUTHERLY ALONG SAID LAST MENTIONED EASTERLY LINE TO THE SOUTHERLY LINE OF
SAID LOT 60; THENCE WESTERLY ALONG SOUTHERLY LINE TO SAID EASTERLY LINE OF TRACT 1801;
THENCE IN A GENERAL NORTHWESTERLY DIRECTION FOLLOWING THE BOUNDARY LINES OF SAID
TRACT 1801, TO THE POINT OF BEGINNING.

EXCEPT THEREFROM AN UNDIVIDED 3 PERCENT OF ALL THE OIL, GAS OTHER HYDROCARBON
SUBSTANCES AND MINERALS IN AND UNDER SAID LAND, AS GRANTED TO LOS ANGELES HOME
COMPANY, A CORPORATION BY DEED RECORDED FEBRUARY 10, 1949 AS INSTRUMENT NO. 852 IN
BOOK 29022 PAGE 337 OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER OF SAID
COUNTY.

ALSO EXCEPT THEREFROM AN UNDIVIDED 0.5 PERCENT OF ALL THE OIL, GAS OTHER HYDROCARBON
SUBSTANCES AND MINERALS IN AND UNDER SAID LAND, AS GRANTED TO NORMA COLEMAN, A
WIDOW BY DEED RECORDED FEBRUARY 21, 1949 AS INSTRUMENT NO. 802 IN BOOK 29421 PAGE 270
OFFICIAL RECORDS.

PARCEL 8: (PORTION OF APN 2836-012-012)

THAT PORTION OF THE RANCHO SAN FRANCISCO, IN THE CITY OF SANTA CLARITA, BOUNDED AS
FOLLOWS:

ON THE SOUTH BY THE NORTH LINE OF LOT 62, OF ST. JOHN SUBDIVISION, AS PER MAP RECORDED
IN BOOK 196 PAGES 304 THROUGH 309 OF MISCELLANEOUS RECORDS, IN THE OFFICE OF THE
COUNTY RECORDER OF SAID COUNTY; ON THE NORTHEAST BY THE SOUTHEAST PROLONGATION OF
THAT CERTAIN COURSE HAVING A BEARING OF NORTH 34° 58' 50" WEST AND A LENGTH OF 703.93
FEET AS DESCRIBED IN DEED TO BERMITE POWDER COMPANY, RECORDED JULY 23, 1951 AS
INSTRUMENT NO. 1546 IN BOOK 36817 PAGE 285 OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY
RECORDER OF SAID COUNTY.

ON THE NORTHWEST BY THE SOUTHEAST LINE OF THE BERMITE POWDER COMPANY, AS SAID LINE
NOW EXISTS BEING A LINE DESCRIBED AS FOLLOWS:

BEGINNING AT THE INTERSECTION OF THE NORTH LINE OF SAID LOT 62, WITH THE SOUTHEAST LINE
OF LAND DESCRIBED IN BOOK 43 PAGE 75 OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY
RECORDER OF SAID COUNTY; THENCE ALONG SAID SOUTHEAST LINE NORTH 25° 23' 45" EAST 263.02
FEET; THENCE ALONG THE SOUTH LINE OF SECTION 24, TOWNSHIP 2 NORTH, RANGE 16 WEST, IN

                                     First American Title
                                                            Order Number: OSA-6830054 (mwhp)
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SAID RANCHO SAN FRANCISCO SOUTH 89° 59' EAST 308.40 FEET; THENCE NORTH 25° 21' EAST, 570
FEET TO AN ANGLE POINT IN THE LINE OF SAID LAND DESCRIBED IN BOOK 36817 PAGE 285 OF SAID
OFFICIAL RECORDS.

EXCEPT 50 PERCENT OF ALL OIL, GAS, MINERALS AND OTHER HYDROCARBON SUBSTANCES LYING IN
AND UNDER SAID LAND, AS RESERVED IN THE DEED FROM DOMENICO GHIGGIA AND MARY GHIGGIA,
HUSBAND AND WIFE IN DEED RECORDED NOVEMBER 22, 1955 IN BOOK 49589 PAGE 170 OF SAID
OFFICIAL RECORDS.

PARCEL 9: (PORTION OF APN: 2836-012-012 )

THAT PORTION OF LOT 62, ST. JOHN'S SUBDIVISION OF PART OF RANCHO SAN FRANCISCO, IN THE
CITY OF SANTA CLARITA, AS PER MAP RECORDED IN BOOK 196 PAGE 304 OF MISCELLANEOUS
RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, DESCRIBED AS FOLLOWS:

BEGINNING AT A POINT ON THE NORTH LINE OF LOT "A", TRACT 1079, AS PER MAP RECORDED IN
BOOK 18 PAGE 155 OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, DISTANT
EASTERLY THEREON 2640 FEET FROM ITS INTERSECTION WITH THE WEST LINE OF SAID LOT 62;
THENCE NORTHERLY AND PARALLEL WITH SAID WEST LINE 2,617 FEET MORE OR LESS, TO A LINE
PARALLEL WITH THE NORTH LINE OF SAID LOT "A", AND DISTANT NORTHERLY THEREFROM A
SUFFICIENT DISTANCE TO INCLUDE 160 ACRES OF LAND WITHIN THE PARCEL OF LAND HEREIN
DESCRIBED; THENCE EASTERLY PARALLEL WITH SAID NORTH LINE OF LOT "A" TO THE EASTERLY
LINE OF SAID LOT 62, 2,706 FEET MORE OR LESS, TO THE EAST LINE OF SAID LOT 62; THENCE
SOUTHERLY ALONG SAID EAST LINE 2,618 FEET MORE OR LESS, TO THE NORTH LINE OF SAID LOT
"A"; THENCE WEST ALONG SAID NORTH LINE 2,640 FEET MORE OR LESS, TO THE POINT OF
BEGINNING.

EXCEPT THEREFROM AN UNDIVIDED 3 PERCENT OF ALL THE OIL, GAS OTHER HYDROCARBON
SUBSTANCES AND MINERALS IN AND UNDER SAID LAND, AS GRANTED TO LOS ANGELES HOME
COMPANY, A CORPORATION BY DEED RECORDED FEBRUARY 10, 1949 AS INSTRUMENT NO. 852 IN
BOOK 29022 PAGE 337 OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER OF SAID
COUNTY.

ALSO EXCEPT THEREFROM AN UNDIVIDED 0.5 PERCENT OF ALL THE OIL, GAS OTHER HYDROCARBON
SUBSTANCES AND MINERALS IN AND UNDER SAID LAND, AS GRANTED TO NORMA COLEMAN, A
WIDOW BY DEED RECORDED FEBRUARY 21, 1949 AS INSTRUMENT NO. 802 IN BOOK 29421 PAGE 270
OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

PARCEL 10: (APN: 2836-012-019)

LOT 48 OF TRACT 34144, IN THE CITY OF SANTA CLARITA, AS PER MAP RECORDED IN BOOK 969
PAGES 15 TO 20 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.


   APN:




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                       Order Number: OSA-6830054 (mwhp)
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First American Title
EXHIBIT B




EXHIBIT B
 TO BE ADDED
UPON ENTRY OF
  ORDER BY
 BANKRUPTCY
    COURT
EXHIBIT C




EXHIBIT C
RECORDING REQUESTED BY AND
WHEN RECORDED MAIL TO:

(see below)

MAIL TAX STATEMENTS TO:

Blue Ox Holdings LLC
c/o Island View Ventures, LLC
120 E. De La Guerra Street, Suite D
Santa Barbara, CA 93101
Attention: Jeff Warmoth
APN: 2836-012-012, 2836-012-019, 2836-012-032               (Space Above Line for Recorder’s Use Only)

In accordance with Section 11926 California Revenue and Taxation Code, no documentary
transfer tax is due. This conveyance is by a mortgagor to a mortgagee, in lieu of foreclosure, and
no additional consideration was paid (R&T 11926).

                                                GRANT DEED

       FOR VALUABLE CONSIDERATION, receipt of which is hereby acknowledged,
SANTA CLARITA, L.L.C., a Delaware limited liability company (“Grantor”), does hereby grant
to BLUE OX HOLDINGS LLC, a Delaware limited liability company, the real property in the
County of Los Angeles, State of California, described on Exhibit “A” attached hereto and by this
reference incorporated herein (the “Property”).

        SUBJECT TO the terms and provisions of that certain Order Approving Sale of Debtor’s
Assets to Blue Ox Holdings, LLC entered in Case No. 2:20-bk-12402-MCW in the United States
Bankruptcy Court for the District of Arizona [ECF No. ___].

       IN WITNESS WHEREOF, the undersigned has executed this Grant Deed as of May
__, 2022.


GRANTOR:

SANTA CLARITA, L.L.C.,
A Delaware limited liability company

By:_____________________________
     Michael Carmel, Chapter 11 Trustee




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 A notary public or other officer completing this certificate verifies
 only the identity of the individual who signed the document to
 which this certificate is attached, and not the truthfulness, accuracy,
 or validity of that document.


STATE OF ___________________ )
                             ) ss.
COUNTY OF __________________ )

On ______________ before me, ___________________________, Notary Public, personally
appeared _____________________________, who proved to me on the basis of satisfactory
evidence to be the person(s) whose name(s) is/are subscribed to the within instrument and
acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies),
and that by his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of
which the person(s) acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of ______________ that the
foregoing paragraph is true and correct.

WITNESS my hand and official seal.

____________________________________

                                                               (SEAL)




                                                 Page 2

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                             EXHIBIT “A” TO GRANT DEED

                                  LEGAL DESCRIPTION

Real property in the City of SANTA CLARITA, County of Los Angeles, State of California,
described as follows:

PARCEL 1: Intentionally not utilized

PARCEL 2: (PORTION OF APN: 2836-012-032)

THAT PORTION OF THE RANCHO SAN FRANCISCO, IN THE CITY OF SANTA
CLARITA, DESCRIBED AS FOLLOWS:

COMMENCING AT THE NORTHEAST CORNER OF LOT 62, OF ST. JOHN'S
SUBDIVISION, AS PER MAP RECORDED IN BOOK 196 PAGE 304 OF MISCELLANEOUS
RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY; THENCE
ALONG THE EASTERLY BOUNDARY LINE OF RANCHO SAN FRANCISCO NORTH 1°
31' 25" EAST 276.88 FEET TO A POINT DESIGNATED STATION NO. 6 OF RANCHO SAN
FRANCISCO; THENCE NORTH 89° 59' 00" WEST 4,633.40 FEET; THENCE NORTH 25° 23'
45" EAST 433.40 FEET; THENCE NORTH 34° 56' 05" WEST, 703.93 FEET TO THE TRUE
POINT OF BEGINNING; THENCE SOUTH 34° 56' 05" EAST 703.93 FEET; THENCE SOUTH
25° 23' 45" WEST 433.40 FEET; THENCE SOUTH 89° 59' 00" EAST 308.40 FEET; THENCE
NORTH 25° 21' 00" EAST 570 FEET; THENCE NORTH 34° 58' 50" WEST 703.93 FEET;
THENCE NORTH 35° 40' 25" WEST 1,018 FEET MORE OR LESS, TO THE
SOUTHEASTERLY RIGHT OF WAY LINE OF THE SOUTHERN PACIFIC RAILROAD;
THENCE SOUTHWESTERLY ALONG THE SOUTHEASTERLY RIGHT OF WAY LINE OF
THE SOUTHERN PACIFIC RAILROAD TO A POINT WHICH BEARS NORTH 35° 37' 40"
WEST FROM THE TRUE POINT OF BEGINNING; THENCE SOUTH 35° 37' 40" EAST
878.59 FEET MORE OR LESS, TO THE TRUE POINT OF BEGINNING.

EXCEPT ALL OIL, GAS AND OTHER HYDROCARBON SUBSTANCES LYING UNDER
AND BENEATH SAID LAND, TOGETHER WITH THE RIGHT TO ENTER UPON SAID
REAL PROPERTY TO EXPLORE, DRILL FOR, AND EXTRACT SAME, INCLUDING THE
RIGHT TO DRILL FOR, AND USE WATER NECESSARY IN CONNECTION WITH SAID
OPERATIONS, AND RIGHT OF INGRESS AND EGRESS TO, OVER, ACROSS AND UPON
SAID REAL PROPERTY, AND THE RIGHT TO ERECT, AND USE SUCH TANKS,
MACHINERY, PIPE LINES AND BUILDINGS, AS MAY BE NECESSARY IN
CONNECTION WITH SAID OPERATIONS, AS RESERVED IN THE DEED FROM JULIUS
R. SCHWARTZ, AND WIFE RECORDED JULY 23, 1951 IN BOOK 36817 PAGE 287
OFFICIAL RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

PARCEL 3: (PORTION OF APN'S: 2836-012-012 AND 2836-012-032)

THAT PORTION OF THE RANCHO SAN FRANCISCO, IN THE CITY OF SANTA
CLARITA, DESCRIBED AS FOLLOWS:

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BEGINNING AT THE MOST WESTERLY CORNER OF THE PARCEL OF LAND
DESCRIBED IN THE DEED TO LOS ANGELES POWDER COMPANY, RECORDED IN
BOOK 43 PAGE 73 OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER
OF SAID COUNTY; THENCE SOUTH 86° 12' 40" WEST 2,925.28 FEET TO THE EASTERLY
LINE OF TRACT 1801, AS PER MAP RECORDED IN BOOK 21 PAGES 158 AND 159 OF
MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY; THENCE
SOUTHERLY ALONG SAID EASTERLY LINE TO THE NORTHERLY LINE OF LOT 60, OF
THE ST. JOHN SUBDIVISION, AS PER MAP RECORDED IN BOOK 196 PAGE 304 OF
MISCELLANEOUS RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID
COUNTY; THENCE EASTERLY ALONG SAID NORTHERLY LINE TO THE
SOUTHWESTERLY LINE OF SAID PARCEL OF LAND, DESCRIBED IN THE DEED
RECORDED IN BOOK 43 PAGE 73 OFFICIAL RECORDS; THENCE ALONG SAID
SOUTHWESTERLY LINE NORTH 60° 06' WEST TO AN ANGLE POINT THEREIN;
THENCE ALONG SAID SOUTHWESTERLY LINE NORTH 41° 52' WEST 234.34 FEET,
AND NORTH 19° 19' 40" WEST 343.03 FEET TO THE POINT OF BEGINNING.

EXCEPT THEREFROM AN UNDIVIDED 3 PERCENT OF ALL THE OIL, GAS, OTHER
HYDROCARBON SUBSTANCES AND MINERALS IN AND UNDER SAID LAND, AS
GRANTED TO LOS ANGELES HOME COMPANY, A CORPORATION BY DEED
RECORDED FEBRUARY 10, 1949 AS INSTRUMENT NO. 852 IN BOOK 29022 PAGE 337
OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

ALSO EXCEPT THEREFROM AN UNDIVIDED 0.5 PERCENT OF ALL THE OIL, GAS,
OTHER HYDROCARBON SUBSTANCES AND MINERALS, IN AND UNDER SAID LAND,
AS GRANTED TO NORMA COLEMAN, A WIDOW, BY DEED RECORDED FEBRUARY
21, 1949 AS INSTRUMENT NO. 802 IN BOOK 29421 PAGE 270 OFFICIAL RECORDS IN
THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

PARCEL 4: (PORTION OF APN'S: 2836-012-012 AND 2836-012-032)

PART OF THE RANCHO SAN FRANCISCO, IN THE CITY OF SANTA CLARITA, AND
PART OF ST. JOHN'S SUBDIVISION OF THE RANCHO SAN FRANCISCO, AS PER MAP
RECORDED IN BOOK 196 PAGE 306 OF MISCELLANEOUS RECORDS, IN THE OFFICE
OF THE COUNTY RECORDER OF SAID COUNTY, DESCRIBED AS A WHOLE AS
FOLLOWS:

BEGINNING AT A POINT DISTANT NORTH 9° 11' WEST 408.50 FEET AND NORTH 86°
12' 40" EAST 2,925.58 FEET FROM THE SOUTHEAST CORNER OF BLOCK 15 OF TRACT
1801, AS PER MAP RECORDED IN BOOK 21 PAGES 158 AND 159 OF MAPS, IN THE
OFFICE OF THE COUNTY RECORDER OF SAID COUNTY; THENCE SOUTH 19° 19' 40"
EAST 343.03 FEET TO A POINT ON THE NORTHERLY LINE OF A ROAD; THENCE
ALONG SAID NORTHERLY LINE SOUTH 41° 52' EAST 234.34 FEET; THENCE ALONG
SAID NORTHERLY LINE SOUTH 60° 06' 06" EAST 727.59 FEET; THENCE ALONG SAID
NORTHERLY LINE SOUTH 69° 29' EAST 1,653.48 FEET; THENCE ALONG SAID
NORTHERLY LINE NORTH 86° 51' EAST 153.33 FEET; THENCE NORTH 25° 21' EAST
1,288.62 FEET; THENCE NORTH 34° 58' 50" WEST 703.93 FEET; THENCE NORTH 35° 40'

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25" WEST 894.02 FEET, MORE OR LESS, TO A POINT ON THE SOUTHERLY LINE OF
THE RIGHT OF WAY OF THE SOUTHERN PACIFIC RAILROAD; THENCE FOLLOWING
THE SOUTHERLY LINE OF SAID RIGHT OF WAY TO A POINT NORTHWESTERLY
476.48 FEET FROM THE POINT OF INTERSECTION OF THE SOUTHWESTERLY LINE OF
THE SOUTHERN PACIFIC RAILROAD RIGHT OF WAY, AND A RADIAL LINE
THROUGH THE SOUTHEASTERLY END OF A SINGLE BENT CATTLE PASS 15 FEET
LONG, AND DESCRIBED AS NO. 448-E, IN THE DEED FROM THE NEWHALL LAND
AND FARMING COMPANY, A CORPORATION TO R.A. BAKER, RECORDED IN BOOK
4055 PAGE 131 OFFICIAL RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF
SAID COUNTY, BENEATH THE SAID SOUTHERLY PACIFIC RAILROAD; THENCE
FROM SAID POINT ,SOUTH 51° 52' WEST 839.90 FEET TO THE SOUTHEASTERLY LINE
OF THAT CERTAIN RESERVOIR WHICH WAS RESERVED, AND EXCEPTED IN DEED
RECORDED IN BOOK 4055 PAGE 131 OFFICIAL RECORDS ABOVE; THENCE SOUTH 8°
29' 50" WEST 173.49 FEET, SOUTH 80° 35' 10" WEST 91.10 FEET, SOUTH 57° 54' 10" WEST
232.35 FEET, ALONG SAID SOUTHEASTERLY BOUNDARY LINE OF AFORESAID
RESERVOIR; THENCE SOUTH 8° 00' 10" WEST TO THE POINT OF BEGINNING.

PARCEL 5: (PORTION OF APN: 2836-012-012)

THAT PORTION OF LOT 62 OF ST. JOHN SUBDIVISION, IN THE CITY OF SANTA
CLARITA, AS PER MAP RECORDED IN BOOK 196 PAGE 304 OF MISCELLANEOUS
RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY,
DESCRIBED AS FOLLOWS:

BEGINNING AT THE INTERSECTION OF THE WEST LINE OF SAID LOT 62, WITH THE
SOUTHERLY LINE OF THE LAND DESCRIBED IN DEED TO THE LOS ANGELES
POWDER COMPANY, RECORDED IN BOOK 43 PAGE 73 OFFICIAL RECORDS IN THE
OFFICE OF THE COUNTY RECORDER OF SAID COUNTY; THENCE SOUTHERLY
ALONG SAID WEST LINE TO THE NORTH LINE OF TRACT 1079, AS PER MAP
RECORDED IN BOOK 18 PAGE 155 OF MAPS, IN THE OFFICE OF THE COUNTY
RECORDER OF SAID COUNTY; THENCE EAST ALONG THE NORTH LINE OF SAID
TRACT 1079, TO THE EAST LINE OF THE RANCHO SAN FRANCISCO; THENCE
NORTHERLY ALONG SAID EAST LINE TO THE NORTH LINE OF SAID LOT 62; THENCE
WEST ALONG THE LAST MENTIONED NORTH LINE TO THE SOUTHEAST LINE OF
THE LAND DESCRIBED IN SAID DEED, RECORDED IN BOOK 43 PAGE 73, OR IN THE
OFFICE OF THE COUNTY RECORDER OF SAID COUNTY; THENCE SOUTHWESTERLY
AND WESTERLY ALONG THE SOUTHEASTERLY AND SOUTHERLY BOUNDARY OF
THE LAND DESCRIBED IN SAID DEED TO THE POINT OF BEGINNING.

EXCEPT THE WEST 2640 FEET OF THE SOUTH 3,300 FEET THEREOF.

ALSO EXCEPT THE EAST 641.74 FEET OF THE NORTH 641.74 FEET THEREOF.

ALSO EXCEPT THEREFROM THAT PORTION THEREOF DESCRIBED AS BEGINNING
AT A POINT ON THE NORTH LINE OF LOT "A" OF TRACT 1079, AS PER MAP
RECORDED IN BOOK 18 PAGE 155 OF MAPS, IN THE OFFICE OF THE COUNTY

                                        Page 5

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RECORDER OF SAID COUNTY, DISTANT EASTERLY THEREON 2,640 FEET FROM ITS
INTERSECTION WITH THE WEST LINE OF SAID LOT 62; THENCE NORTHERLY AND
PARALLEL WITH SAID WEST LINE, 2.617 FEET MORE OR LESS, TO THE NORTHERLY
LINE OF THE SOUTH 160 ACRES OF THAT PORTION OF SAID LOT 62, WHICH IS
BOUNDED ON THE SOUTH BY SAID NORTH LINE OF SAID LOT "A", AND ON THE
WEST BY A LINE PARALLEL WITH THE WEST LINE OF SAID LOT 62, WHICH PASSES
THROUGH A POINT IN SAID NORTH LINE OF SAID LOT "A", DISTANT EASTERLY
ALONG SAID NORTH LINE 2,640 FEET FROM SAID WEST LINE OF LOT 62; THENCE
EASTERLY ALONG THE NORTH LINE OF SAID SOUTH 160 ACRES, 2,706 FEET MORE
OR LESS, TO THE EAST LINE OF SAID LOT 62; THENCE SOUTHERLY ALONG THE
EAST LINE, 2,618 FEET MORE OR LESS, TO THE NORTH LINE OF SAID LOT "A"
THENCE WEST ALONG SAID NORTH LINE 2,640 FEET MORE OR LESS TO THE POINT
OF BEGINNING.

ALSO EXCEPT THEREFROM AN UNDIVIDED 3 PERCENT OF ALL THE OIL, GAS
OTHER HYDROCARBON SUBSTANCES AND MINERALS IN AND UNDER SAID LAND,
AS GRANTED TO LOS ANGELES HOME COMPANY, A CORPORATION BY DEED
RECORDED FEBRUARY 10, 1949 AS INSTRUMENT NO. 852 IN BOOK 29022 PAGE 337
OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

ALSO EXCEPT THEREFROM AN UNDIVIDED 0.5 PERCENT OF ALL THE OIL, GAS
OTHER HYDROCARBON SUBSTANCES AND MINERALS IN AND UNDER SAID LAND,
AS GRANTED TO NORMA COLEMAN, A WIDOW BY DEED RECORDED FEBRUARY 21,
1949 AS INSTRUMENT NO. 802 IN BOOK 29421 PAGE 270 OFFICIAL RECORDS IN THE
OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

PARCEL 6: (PORTION OF APN: 2836-012-012)

THE WEST 2,640 FEET OF THE SOUTH 3,300 FEET OF LOT 62 OF ST. JOHN'S
SUBDIVISION OF RANCHO SAN FRANCISCO, IN THE CITY OF SANTA CLARITA, AS
PER MAP RECORDED IN BOOK 196 PAGE 304, ET SEQ. OF MISCELLANEOUS
RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

EXCEPT THAT PORTION LYING WITHIN LOT 48 OF TRACT 34144.

ALSO EXCEPT THEREFROM AN UNDIVIDED 3 PERCENT OF ALL THE OIL, GAS
OTHER HYDROCARBON SUBSTANCES AND MINERALS IN AND UNDER SAID LAND,
AS GRANTED TO LOS ANGELES HOME COMPANY, A CORPORATION BY DEED
RECORDED FEBRUARY 10, 1949 AS INSTRUMENT NO. 852 IN BOOK 29022 PAGE 337
OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

ALSO EXCEPT THEREFROM AN UNDIVIDED 0.5 PERCENT OF ALL THE OIL, GAS
OTHER HYDROCARBON SUBSTANCES AND MINERALS IN AND UNDER SAID LAND,
AS GRANTED TO NORMA COLEMAN, A WIDOW BY DEED RECORDED FEBRUARY 21,
1949 AS INSTRUMENT NO. 802 IN BOOK 29421 PAGE 270 OFFICIAL RECORDS IN THE
OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

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PARCEL 7: (PORTION OF APN'S: 2836-012-012 AND 2836-012-032)

THAT PORTION OF THE RANCHO SAN FRANCISCO, IN THE CITY OF SANTA
CLARITA, DESCRIBED AS FOLLOWS:

BEGINNING AT THE POINT OF INTERSECTION OF THE EASTERLY LINE OF TRACT
1801, AS PER MAP RECORDED IN BOOK 21 PAGES 158 AND 159 OF MAPS, IN THE
OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, WITH THE NORTHERLY
LINE OF LOT 60, OF THE ST. JOHN'S SUBDIVISION, AS PER MAP RECORDED IN BOOK
196 PAGE 304 OF MISCELLANEOUS RECORDS, IN THE OFFICE OF THE COUNTY
RECORDER OF SAID COUNTY; THENCE EASTERLY ALONG SAID NORTHERLY LINE
TO THE SOUTHWESTERLY LINE OF THE PARCEL OF LAND DESCRIBED IN THE DEED
TO THE LOS ANGELES POWDER COMPANY, A CORPORATION RECORDED IN BOOK
43 PAGE 73 OFFICIAL RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF
SAID COUNTY; THENCE ALONG SAID SOUTHWESTERLY LINE SOUTH 60° 06' EAST,
TO AN ANGLE POINT THEREIN; THENCE ALONG SAID SOUTHWESTERLY LINE
SOUTH 69° 29' EAST TO THE EASTERLY LINE OF SAID LOT 60, OF THE ST. JOHN
SUBDIVISION; THENCE SOUTHERLY ALONG SAID LAST MENTIONED EASTERLY
LINE TO THE SOUTHERLY LINE OF SAID LOT 60; THENCE WESTERLY ALONG
SOUTHERLY LINE TO SAID EASTERLY LINE OF TRACT 1801; THENCE IN A GENERAL
NORTHWESTERLY DIRECTION FOLLOWING THE BOUNDARY LINES OF SAID TRACT
1801, TO THE POINT OF BEGINNING.

EXCEPT THEREFROM AN UNDIVIDED 3 PERCENT OF ALL THE OIL, GAS OTHER
HYDROCARBON SUBSTANCES AND MINERALS IN AND UNDER SAID LAND, AS
GRANTED TO LOS ANGELES HOME COMPANY, A CORPORATION BY DEED
RECORDED FEBRUARY 10, 1949 AS INSTRUMENT NO. 852 IN BOOK 29022 PAGE 337
OFFICIAL RECORDS IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

ALSO EXCEPT THEREFROM AN UNDIVIDED 0.5 PERCENT OF ALL THE OIL, GAS
OTHER HYDROCARBON SUBSTANCES AND MINERALS IN AND UNDER SAID LAND,
AS GRANTED TO NORMA COLEMAN, A WIDOW BY DEED RECORDED FEBRUARY 21,
1949 AS INSTRUMENT NO. 802 IN BOOK 29421 PAGE 270 OFFICIAL RECORDS.

PARCEL 8: (PORTION OF APN 2836-012-012)

THAT PORTION OF THE RANCHO SAN FRANCISCO, IN THE CITY OF SANTA
CLARITA, BOUNDED AS FOLLOWS:

ON THE SOUTH BY THE NORTH LINE OF LOT 62, OF ST. JOHN SUBDIVISION, AS PER
MAP RECORDED IN BOOK 196 PAGES 304 THROUGH 309 OF MISCELLANEOUS
RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY; ON THE
NORTHEAST BY THE SOUTHEAST PROLONGATION OF THAT CERTAIN COURSE
HAVING A BEARING OF NORTH 34° 58' 50" WEST AND A LENGTH OF 703.93 FEET AS
DESCRIBED IN DEED TO BERMITE POWDER COMPANY, RECORDED JULY 23, 1951

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AS INSTRUMENT NO. 1546 IN BOOK 36817 PAGE 285 OFFICIAL RECORDS IN THE
OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

ON THE NORTHWEST BY THE SOUTHEAST LINE OF THE BERMITE POWDER
COMPANY, AS SAID LINE NOW EXISTS BEING A LINE DESCRIBED AS FOLLOWS:

BEGINNING AT THE INTERSECTION OF THE NORTH LINE OF SAID LOT 62, WITH THE
SOUTHEAST LINE OF LAND DESCRIBED IN BOOK 43 PAGE 75 OFFICIAL RECORDS IN
THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY; THENCE ALONG SAID
SOUTHEAST LINE NORTH 25° 23' 45" EAST 263.02 FEET; THENCE ALONG THE SOUTH
LINE OF SECTION 24, TOWNSHIP 2 NORTH, RANGE 16 WEST, IN SAID RANCHO SAN
FRANCISCO SOUTH 89° 59' EAST 308.40 FEET; THENCE NORTH 25° 21' EAST, 570 FEET
TO AN ANGLE POINT IN THE LINE OF SAID LAND DESCRIBED IN BOOK 36817 PAGE
285 OF SAID OFFICIAL RECORDS.

EXCEPT 50 PERCENT OF ALL OIL, GAS, MINERALS AND OTHER HYDROCARBON
SUBSTANCES LYING IN AND UNDER SAID LAND, AS RESERVED IN THE DEED FROM
DOMENICO GHIGGIA AND MARY GHIGGIA, HUSBAND AND WIFE IN DEED
RECORDED NOVEMBER 22, 1955 IN BOOK 49589 PAGE 170 OF SAID OFFICIAL
RECORDS.

PARCEL 9: (PORTION OF APN: 2836-012-012 )

THAT PORTION OF LOT 62, ST. JOHN'S SUBDIVISION OF PART OF RANCHO SAN
FRANCISCO, IN THE CITY OF SANTA CLARITA, AS PER MAP RECORDED IN BOOK
196 PAGE 304 OF MISCELLANEOUS RECORDS, IN THE OFFICE OF THE COUNTY
RECORDER OF SAID COUNTY, DESCRIBED AS FOLLOWS:

BEGINNING AT A POINT ON THE NORTH LINE OF LOT "A", TRACT 1079, AS PER MAP
RECORDED IN BOOK 18 PAGE 155 OF MAPS, IN THE OFFICE OF THE COUNTY
RECORDER OF SAID COUNTY, DISTANT EASTERLY THEREON 2640 FEET FROM ITS
INTERSECTION WITH THE WEST LINE OF SAID LOT 62; THENCE NORTHERLY AND
PARALLEL WITH SAID WEST LINE 2,617 FEET MORE OR LESS, TO A LINE PARALLEL
WITH THE NORTH LINE OF SAID LOT "A", AND DISTANT NORTHERLY THEREFROM
A SUFFICIENT DISTANCE TO INCLUDE 160 ACRES OF LAND WITHIN THE PARCEL
OF LAND HEREIN DESCRIBED; THENCE EASTERLY PARALLEL WITH SAID NORTH
LINE OF LOT "A" TO THE EASTERLY LINE OF SAID LOT 62, 2,706 FEET MORE OR
LESS, TO THE EAST LINE OF SAID LOT 62; THENCE SOUTHERLY ALONG SAID EAST
LINE 2,618 FEET MORE OR LESS, TO THE NORTH LINE OF SAID LOT "A"; THENCE
WEST ALONG SAID NORTH LINE 2,640 FEET MORE OR LESS, TO THE POINT OF
BEGINNING.

EXCEPT THEREFROM AN UNDIVIDED 3 PERCENT OF ALL THE OIL, GAS OTHER
HYDROCARBON SUBSTANCES AND MINERALS IN AND UNDER SAID LAND, AS
GRANTED TO LOS ANGELES HOME COMPANY, A CORPORATION BY DEED


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RECORDED FEBRUARY 10, 1949 AS INSTRUMENT NO. 852 IN BOOK 29022 PAGE 337
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ALSO EXCEPT THEREFROM AN UNDIVIDED 0.5 PERCENT OF ALL THE OIL, GAS
OTHER HYDROCARBON SUBSTANCES AND MINERALS IN AND UNDER SAID LAND,
AS GRANTED TO NORMA COLEMAN, A WIDOW BY DEED RECORDED FEBRUARY 21,
1949 AS INSTRUMENT NO. 802 IN BOOK 29421 PAGE 270 OFFICIAL RECORDS IN THE
OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

PARCEL 10: (APN: 2836-012-019)

LOT 48 OF TRACT 34144, IN THE CITY OF SANTA CLARITA, AS PER MAP RECORDED
IN BOOK 969 PAGES 15 TO 20 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
RECORDER OF SAID COUNTY.




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EXHIBIT D




EXHIBIT D
                          GENERAL ASSIGNMENT AND BILL OF SALE

       This GENERAL ASSIGNMENT AND BILL OF SALE (“Assignment”), dated as of April
___, 2022, is entered into by and between SANTA CLARITA, L.L.C., a Delaware limited liability
company (“Assignor”), and BLUE OX HOLDINGS LLC, a Delaware limited liability company
(“Assignee”), who agree as follows.

                                          WITNESSETH

        Assignor, as seller, and Assignee, as buyer, entered into that certain Purchase and Sale
Agreement dated for reference purposes as of March 3, 2022, (the “Purchase Agreement”),
affecting the property in the County of Los Angeles, State of California defined as the Property in
the Purchase Agreement (“Property”).

        Assignor hereby assigns, sells, transfers, sets over and delivers unto Assignee all of the
following (collectively, the “Assigned Materials”), free and clear of all liens and encumbrances,
insofar as Assignor has rights in the Assigned Materials:

        (a)     all tangible personal property owned by Assignor, nor or hereafter located in and
used in connection with the operation, ownership, maintenance or management of the Property
(defined in Schedule A attached to this Assignment), including without limitation: all plans and
specifications, reports and studies, marketing, advertising, sales and promotional materials and
sales plans, information and studies, and other similar reports used in the ownership, operation,
maintenance and management of the Property (collectively, the “Tangible Personal Property”);

        (b)    all intangible personal property related to the Property, including without
limitation: development rights, any and all existing rights under development agreements with any
applicable “Governmental Authority” (as defined below) with respect to the Property,
development capacities and fee credits; water and water rights, wells, well rights and well permits,
water and sewer taps, sanitary or storm sewer capacity or reservations and rights under utility
agreements with any applicable Governmental Authority with respect to the providing of utility
services; governmental permits, approvals, licenses (to the extent assignable); all general
intangibles related to the Property, and all records related to the Property (the “Intangible
Personal Property”);

        (c)     all assignable permits, licenses, approvals and other authorizations issued by any
Governmental Authority or other governing entity in connection with the Property (the “Permits
and Licenses”), in each case to the extent assignable (the Tangible Personal Property, the
Intangible Personal Property, and the Permits and Licenses, may hereinafter collectively be
referred to as the “Personal Property”); and

         (d)        all Purchased Claims (defined in Schedule 1 to this Assignment);

        The Assigned Materials shall expressly exclude all of Assignor’s rights, title, interest and
benefit in and to the following (collectively referred to herein as the “Excluded Property”):




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        (i)    any and all environmental remediation equipment or facilities which are required
to be retained and used by Whittaker Corporation or any of its affiliates in connection with its
on-going environmental obligations to the State of California,

        (ii)    any Personal Property which Buyer elects not to acquire by written notice to Seller
prior to the Closing; and

         (iii)      any claims, causes of action or other rights related to any Excluded Property.

       For purposes of this Assignment, “Governmental Authority” means the federal
government of the United States, the government of any state of the United States or any political
subdivision thereof, and any Person exercising executive, legislative, judicial, regulatory or
administrative functions of or pertaining to government and any other governmental or quasi-
governmental entity, instrumentality, agency, authority or commission).

       This Assignment shall be binding upon and inure to the benefit of the successors, assignees,
personal representatives, heirs and legatees of all the respective parties hereto.

       This Assignment shall be governed by, interpreted under, and construed and enforceable
in accordance with, the laws of the State of California.

        This Assignment may be executed in counterparts, each of which shall be deemed to be an
original, but which together shall constitute a single document. Photocopied or electronic
signatures shall be treated as originals.

        If there is any legal action or proceeding between Assignor and Assignee arising from or
based upon this Assignment, the unsuccessful party to such action or proceeding shall pay to the
prevailing party all costs and expenses, including reasonable attorneys’ fees and disbursements
incurred by the prevailing party in such action or proceeding and in any appeal in connection
therewith, and such costs, expenses, attorneys’ fees and disbursements shall be included in and as
part of such judgment.
                                            [Signature Page below]




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 Dated: May __, 2022   ASSIGNOR:

                       SANTA CLARITA, LLC,
                       A Delaware limited liability company



                       By:_____________________________
                         Michael Carmel, Chapter 11 Trustee

 Dated: May __, 2022   ASSIGNEE:

                       BLUE OX HOLDINGS, LLC
                       A Delaware limited liability company

                       By:           ______________________________
                       Its:          ______________________________
                       Print Name:   _______________________




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                                              SCHEDULE 1

                                         PURCHASED CLAIMS

       The following is a non-exhaustive list of potential parties against whom Assignor may hold
a claim or cause of action, and which are being purchased pursuant to the Purchase Agreement.

         1.         All claims of Assignor against Remediation Financial, Inc;

         2.         All claims of Assignor against Bart Shea and/or any of his affiliates;

         3.         All claims of Assignor against Myla Bobrow and/or any of her affiliates;

         4.         All claims of Assignor against David Lunn and/or any of his affiliates;

         5.         All claims of Assignor against Kenneth Bobrow and/or any of his affiliate’s;

         6.         All claims of Assignor against Daryl Deel and/or any of his affiliates;

         7.         All claims of Assignor against David Harbour and/or any of his affiliates;

         8.         All claims of Assignor against DKL Law, PLLC;

         9.         All claims of Assignor against Shea-Connelly Development, LLC and/or Shea-
                    Connelly, LLC;

         10.        All claims of Assignor against SCD Construction, LLC;

         11.        All claims of Assignor against Deel Investments, LP;

         12.        All claim of Assignor against RFI Operating Corp;

         13.        All claims of Assignor against Bermite Recovery, LLC;

         14.        All claims of Assignor against the City of Santa Clarita, LLC;

         15.        All claims of Assignor against Steadfast Insurance Company, Inc., Zurich
                    Insurance Company, Zurich American Insurance Company, and Steadfast Santa
                    Clarita Holdings, LLC; and

         16.        All claims of Assignor arising out of transactions involving, concerning, or related
                    to the Property.




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